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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

WEBROOT, INC. and
OPEN TEXT, INC.,

                       Plaintiffs,
                                                            Case No. 6:22-cv-00241 -ADA-DTG
    V.
                                                            JURY TRIAL DEMANDED
CROWDSTRIKE, INC., and
CROWDSTRIKE HOLDINGS, INC.,

                   Defendants.
                                                         PUBLIC VERSION
CROWDSTRIKE, INC.,

              Counterclaim-Plaintiff,

     V.


WEBROOT, INC. and
OPEN TEXT, INC.,

             Counterclaim-Defendants.



                  DEFENDANTS' ANSWER AND COUNTERCLAIMS TO
                PLAINTIFFS' COMPLAINT FOR PATENT INFRINGEMENT

          Defendants     CrowdStrike, Inc. and    CrowdStrike     Holdings, Inc. 1 (collectively,

"CrowdSti·ike" or "Defendants"), by and through their undersigned counsel, state the following as

their Answer to Plaintiffs Webroot, Inc. ("Webroot") and Open Text, Inc.'s ("Open Text")

(collectively, "Plaintiffs") Complaint for Patent Infringement ("Complaint") filed on March 4,




1
   CrowdStrike Holdings, Inc. is not a proper paiiy to this lawsuit. CrowdSti·ike Holdings, Inc. is
a holding company. CrowdSti·ike Holdings, Inc. does not manufacture, sell, or mai·ket any
products.
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2022. Each paragraph of the Answer below responds to the corresponding numbered or lettered

paragraph of the Complaint. All allegations not expressly admitted herein are denied by

CrowdStrike.

       1.      CrowdStrike denies that “[t]his case involves patented technologies that helped to

revolutionize, and have become widely adopted in, the fields of malware detection, network

security, and endpoint protection.” CrowdStrike admits that “[e]ndpoint protection involves

securing endpoints or entry points of end-user devices (e.g., desktops, laptops, mobile devices,

etc.) on a network or in a cloud from cybersecurity threats, like malware.”

       2.      CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 2, and therefore denies them.

       3.      CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 3, and therefore denies them.

       4.      CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 4, and therefore denies them.

       5.      CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 5, and therefore denies them.

       6.      CrowdStrike denies the allegations in paragraph 6.

       7.      CrowdStrike denies that the Patents-in-Suit “helped transform the way malware

detection and network security is conducted.” CrowdStrike lacks knowledge or information

sufficient to form a belief as to the truth or falsity of the remaining allegations in paragraph 7, and

therefore denies them.

       8.      CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 8, and therefore denies them.




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       9.      CrowdStrike denies that the Patents-in-Suit “include[]” “new methods,” “new

architectures,” “new forensic techniques,” or “new advantaged memory scanning techniques.”

CrowdStrike lacks knowledge or information sufficient to form a belief as to the truth or falsity of

the remaining allegations in paragraph 9, and therefore denies them.

       10.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 10, and therefore denies them.

       11.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 11, and therefore denies them.

       12.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 12, and therefore denies them.

       13.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 13, and therefore denies them.

       14.     CrowdStrike denies the allegations in paragraph 14.

       15.     CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 15,

and specifically denies that it has committed any acts of infringement. CrowdStrike admits that

CrowdStrike, Inc. is a wholly owned subsidiary of CrowdStrike Holdings, Inc. CrowdStrike admits

that Falcon Platform and Falcon endpoint security are CrowdStrike products and services.

CrowdStrike lacks knowledge or information sufficient to form a belief as to the truth or falsity of

the remaining allegations contained in paragraph 15, and therefore denies them.

       16.     CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 16,

and specifically denies that it has committed any acts of infringement or unfair competition in this

District or elsewhere. CrowdStrike admits that the Complaint purports to seek damages.

CrowdStrike denies the remaining allegations contained in paragraph 16.




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                                    NATURE OF THE CASE

       17.     CrowdStrike admits that the Complaint purports to allege patent infringement for

the Patents-in-Suit. CrowdStrike denies that it has infringed or currently infringes any of Plaintiffs’

patents.

                                          THE PARTIES

       18.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 18, and therefore denies them.

       19.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 19, and therefore denies them.

       20.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 20, and therefore denies them.

       21.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 21, and therefore denies them.

       22.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 22, and therefore denies them.

       23.     CrowdStrike admits that CrowdStrike Holdings, Inc. is a Delaware corporation and

has an office at 206 E 9th Street Suite 1400, Austin, TX 78701. CrowdStrike Holdings, Inc. is a

holding company that does not make, use, sell, offer to sell, or import any product or service. To

the extent the allegations in paragraph 23 of the Complaint purport to describe one or more

documents, CrowdStrike asserts that those documents are the best source of their full content and

context. CrowdStrike denies the allegations to the extent they do not accurately represent the

documents’ full content and context. CrowdStrike admits that CrowdStrike Holdings, Inc. is the




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parent of and directly and wholly owns CrowdStrike, Inc. CrowdStrike denies the remaining

allegations in paragraph 23.

       24.      CrowdStrike admits that CrowdStrike, Inc. is a Delaware corporation. To the extent

the allegations in paragraph 24 of the Complaint purport to describe one or more documents,

CrowdStrike asserts that those documents are the best source of their full content and context.

CrowdStrike denies the allegations to the extent they do not accurately represent the documents’

full content and context. CrowdStrike admits that it is registered with the Secretary of State to

conduct business in Texas. CrowdStrike denies the remaining allegations in paragraph 24.

                                 JURISDICTION AND VENUE

       25.      CrowdStrike admits that this action invokes the United States patent laws, and that

this Court has subject matter jurisdiction over meritorious patent law claims generally pursuant to

28 U.S.C. §§ 1331 and 1338(a). CrowdStrike denies, however, that the Complaint sets forth a valid

or meritorious claim for patent infringement. CrowdStrike denies the remaining allegations in

paragraph 25.

       26.      For purposes of this case only, CrowdStrike does not contest personal jurisdiction.

CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 26, and specifically

denies that it has committed any acts of infringement. Plaintiffs dismissed their allegations in the

Complaint as to pre-suit indirect infringement (Dkt. 22), and thus, CrowdStrike does not respond

to those allegations in its Answer herein. CrowdStrike denies the remaining allegations in

paragraph 26.

       27.      CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 27.

To the extent the allegations in paragraph 27 of the Complaint purport to describe one or more

documents, CrowdStrike asserts that those documents are the best source of their full content and




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context. CrowdStrike denies the allegations to the extent they do not accurately represent the

documents’ full content and context. CrowdStrike denies the remaining allegations in paragraph

27.

       28.     CrowdStrike admits that venue is proper in this District for purposes of this

particular action only, but denies that venue is convenient or in the interests of justice under 28

U.S.C. § 1404(a). CrowdStrike denies any of the allegations as against CrowdStrike in paragraph

28, and specifically denies that it has committed any acts of infringement. CrowdStrike denies the

remaining allegations in paragraph 28.

       29.     CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 29.

To the extent the allegations in paragraph 29 of the Complaint purport to describe and/or quote

from one or more documents, CrowdStrike asserts that those documents are the best source of their

full content and context. CrowdStrike denies the allegations to the extent they do not accurately

represent the documents’ full content and context. CrowdStrike denies the remaining allegations

in paragraph 29.

       30.     CrowdStrike admits that CrowdStrike Holdings, Inc. is the parent of and directly

and wholly owns CrowdStrike, Inc. CrowdStrike denies any of the allegations as against

CrowdStrike in paragraph 30, and specifically denies that it has committed any acts of

infringement. To the extent the allegations in paragraph 30 of the Complaint purport to describe

one or more documents, CrowdStrike asserts that those documents are the best source of their full

content and context. CrowdStrike denies the allegations to the extent they do not accurately

represent the documents’ full content and context. CrowdStrike denies the remaining allegations

in paragraph 30.




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       31.     CrowdStrike admits that it has conducted and does conduct business in the State of

Texas. To the extent the allegations in paragraph 31 of the Complaint purport to describe one or

more documents, CrowdStrike asserts that those documents are the best source of their full content

and context. CrowdStrike denies the allegations to the extent they do not accurately represent the

documents’ full content and context. CrowdStrike denies the remaining allegations in paragraph

31.

       32.     CrowdStrike admits that it has employees located in Austin, Texas. CrowdStrike

denies the remaining allegations in paragraph 32.

       33.     CrowdStrike admits that it has employees located in Austin, Texas with relevant

information. CrowdStrike denies the remaining allegations in paragraph 33.

       34.     CrowdStrike admits that it has employees responsible for sales and technical

support located in Austin, Texas. CrowdStrike lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the remaining allegations contained in paragraph 34, and

therefore denies them.

       35.     CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 35,

and specifically denies that it has committed any acts of infringement. CrowdStrike denies the

remaining allegations in paragraph 35.

       36.     CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 36,

and specifically denies that it has committed any acts of infringement. CrowdStrike denies the

remaining allegations in paragraph 36.

       37.     CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 37,

and specifically denies that it has committed any acts of infringement. To the extent the allegations

in paragraph 37 of the Complaint purport to describe one or more documents, CrowdStrike asserts




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that those documents are the best source of their full content and context. CrowdStrike denies the

allegations to the extent they do not accurately represent the documents’ full content and context.

CrowdStrike denies the remaining allegations in paragraph 37.

       38.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations contained in paragraph 38, and therefore denies them.

       39.     CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 39,

and specifically denies that it has committed any acts of infringement. Plaintiffs dismissed their

allegations in the Complaint as to pre-suit indirect infringement (Dkt. 22), and thus, CrowdStrike

does not respond to those allegations in its Answer herein. CrowdStrike denies the remaining

allegations in paragraph 39.

       40.     CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 40,

and specifically denies that it has committed any acts of infringement. Plaintiffs dismissed their

allegations in the Complaint as to pre-suit indirect infringement (Dkt. 22), and thus, CrowdStrike

does not respond to those allegations in its Answer herein. CrowdStrike denies the remaining

allegations in paragraph 40.

       41.     CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 41,

and specifically denies that it has committed any acts of infringement. Plaintiffs dismissed their

allegations in the Complaint as to pre-suit indirect infringement (Dkt. 22), and thus, CrowdStrike

does not respond to those allegations in its Answer herein. To the extent the allegations in

paragraph 41 of the Complaint purport to describe one or more documents, CrowdStrike asserts

that those documents are the best source of their full content and context. CrowdStrike denies the

allegations to the extent they do not accurately represent the documents’ full content and context.

CrowdStrike denies the remaining allegations in paragraph 41.




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       42.     CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 42,

and specifically denies that it has committed any acts of infringement. Plaintiffs dismissed their

allegations in the Complaint as to pre-suit indirect infringement (Dkt. 22), and thus, CrowdStrike

does not respond to those allegations in its Answer herein. To the extent the allegations in

paragraph 42 of the Complaint purport to describe one or more documents, CrowdStrike asserts

that those documents are the best source of their full content and context. CrowdStrike denies the

allegations to the extent they do not accurately represent the documents’ full content and context.

CrowdStrike denies the remaining allegations in paragraph 42.

       43.     CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 43,

and specifically denies that it has committed any acts of infringement. Plaintiffs dismissed their

allegations in the Complaint as to pre-suit indirect infringement (Dkt. 22), and thus, CrowdStrike

does not respond to those allegations in its Answer herein. To the extent the allegations in

paragraph 43 of the Complaint purport to describe one or more documents, CrowdStrike asserts

that those documents are the best source of their full content and context. CrowdStrike denies the

allegations to the extent they do not accurately represent the documents’ full content and context.

CrowdStrike denies the remaining allegations in paragraph 43.

       44.     CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 44,

and specifically denies that it has committed any acts of infringement. To the extent the allegations

in paragraph 44 of the Complaint purport to describe one or more documents, CrowdStrike asserts

that those documents are the best source of their full content and context. CrowdStrike denies the

allegations to the extent they do not accurately represent the documents’ full content and context.

CrowdStrike denies the remaining allegations in paragraph 44.




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                  PLAINTIFFS’ ALLEGED PATENTED INNOVATIONS

       45.     CrowdStrike denies that Plaintiffs and their predecessors “were all pioneers and

leading innovators.” CrowdStrike lacks knowledge or information sufficient to form a belief as to

the truth or falsity of the remaining allegations in paragraph 45, and therefore denies them.

       46.     CrowdStrike denies that the Patents-in-Suit contain “innovations.” CrowdStrike

lacks knowledge or information sufficient to form a belief as to the truth or falsity of the remaining

allegations in paragraph 46, and therefore denies them.

                               Alleged Malware Detection Patents
                            U.S. Patent Nos. 8,418,250 and 8,726,389

       47.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 47, and therefore denies them.

       48.     CrowdStrike admits that what appears to be a copy of United States Patent No.

8,418,250 is attached as Exhibit 1 to the Complaint and that, on its face, the ’250 Patent is entitled

“Methods and Apparatus for Dealing with Malware,” and bears a filing date of June 30, 2006 and

an issue date of April 9, 2013. CrowdStrike denies that the ’250 Patent was duly and legally issued.

CrowdStrike lacks knowledge or information sufficient to form a belief as to the truth or falsity of

the remaining allegations in paragraph 48, and therefore denies them.

       49.     CrowdStrike admits that what appears to be a copy of United States Patent No.

8,726,389 is attached as Exhibit 2 to the Complaint and that, on its face, the ’389 Patent is entitled

“Methods and Apparatus for Dealing with Malware,” and bears a filing date of July 8, 2012 and

an issue date of May 13, 2014. CrowdStrike denies that the ’389 Patent was duly and legally issued.

CrowdStrike lacks knowledge or information sufficient to form a belief as to the truth or falsity of

the remaining allegations in paragraph 49, and therefore denies them.




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       50.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 50, and therefore denies them.

       51.     To the extent the allegations in paragraph 51 of the Complaint purport to describe

what is disclosed in the ’389 Patent, CrowdStrike asserts that the ’389 Patent is the best source of

its full content and context. CrowdStrike denies the allegations to the extent they do not accurately

represent the patent’s full content and context. CrowdStrike lacks knowledge or information

sufficient to form a belief as to the truth or falsity of the remaining allegations in paragraph 51,

and therefore denies them.

       52.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 52, and therefore denies them.

       53.     To the extent the allegations in paragraph 53 of the Complaint purport to describe

what is disclosed in the ’389 Patent, CrowdStrike asserts that the ’389 Patent is the best source of

its full content and context. CrowdStrike denies the allegations to the extent they do not accurately

represent the patent’s full content and context. CrowdStrike lacks knowledge or information

sufficient to form a belief as to the truth or falsity of the remaining allegations in paragraph 53,

and therefore denies them.

       54.     CrowdStrike denies that the Patents-in-Suit disclose a “contrast” to disclosures in

the preceding paragraphs of the Complaint. CrowdStrike lacks knowledge or information

sufficient to form a belief as to the truth or falsity of the remaining allegations in paragraph 54,

and therefore denies them.

       55.     To the extent the allegations in paragraph 55 of the Complaint purport to describe

what is disclosed in the ’389 Patent and ’250 Patent, CrowdStrike asserts that the ’389 Patent and

’250 Patent are the best source of their full content and context. CrowdStrike denies the allegations




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to the extent they do not accurately represent the patents’ full content and context. CrowdStrike

lacks knowledge or information sufficient to form a belief as to the truth or falsity of the remaining

allegations in paragraph 55, and therefore denies them.

       56.     CrowdStrike denies that the Patents-in-Suit disclose “advantages” or “improve[]

the computer network.” To the extent the allegations in paragraph 56 of the Complaint purport to

describe what is disclosed in the ’250 Patent prosecution history, CrowdStrike asserts that the ’250

Patent prosecution history is the best source of its full content and context. CrowdStrike denies the

allegations to the extent they do not accurately represent the ’250 Patent prosecution history’s full

content and context. CrowdStrike lacks knowledge or information sufficient to form a belief as to

the truth or falsity of the remaining allegations in paragraph 56, and therefore denies them.

       57.     CrowdStrike denies that the Patents-in-Suit disclose “inventions” that are

“necessarily rooted in computer technology” or “address[] [a] fundamental computer technology

problem with a computer technology solution.” CrowdStrike denies that the Patents-in-Suit

“improve the technical functioning of the computer network . . . to improve network security.”

CrowdStrike denies that the Patents-in-Suit disclose “technical improvements [to] address

identified weaknesses in conventional systems and processes.” To the extent the allegations in

paragraph 57 of the Complaint purport to describe what is disclosed in the ’250 Patent,

CrowdStrike asserts that the ’250 Patent is the best source of its full content and context.

CrowdStrike denies the allegations to the extent they do not accurately represent the ’250 Patent’s

full content and context. CrowdStrike lacks knowledge or information sufficient to form a belief

as to the truth or falsity of the remaining allegations in paragraph 57, and therefore denies them.

       58.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 58, and therefore denies them.




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        59.    CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 59, and therefore denies them.

        60.    CrowdStrike denies that the ’250 Patent discloses “technical improvements” or

provides any “advantages.” CrowdStrike lacks knowledge or information sufficient to form a

belief as to the truth or falsity of the remaining allegations in paragraph 60, and therefore denies

them.

        61.    CrowdStrike denies that the ’250 Patent “improves [any] systems.” To the extent

the allegations in paragraph 61 of the Complaint purport to describe what is disclosed in the ’250

Patent, CrowdStrike asserts that the ’250 Patent is the best source of its full content and context.

CrowdStrike denies the allegations to the extent they do not accurately represent the ’250 Patent’s

full content and context. CrowdStrike lacks knowledge or information sufficient to form a belief

as to the truth or falsity of the remaining allegations in paragraph 61, and therefore denies them.

        62.    CrowdStrike denies that the claims of the ’250 Patent “are not routine or

conventional.” To the extent the allegations in paragraph 62 of the Complaint purport to describe

what is disclosed in the ’250 Patent, CrowdStrike asserts that the ’250 Patent is the best source of

its full content and context. CrowdStrike denies the allegations to the extent they do not accurately

represent the ’250 Patent’s full content and context. CrowdStrike lacks knowledge or information

sufficient to form a belief as to the truth or falsity of the remaining allegations in paragraph 62,

and therefore denies them.

        63.    CrowdStrike denies that the ’250 Patent discloses anything that is “unconventional

in nature” or that it discloses any “technical advantages and improvements.” To the extent the

allegations in paragraph 63 of the Complaint purport to describe what is disclosed in the ’250

Patent prosecution history, CrowdStrike asserts that the ’250 Patent prosecution history is the best




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source of its full content and context. CrowdStrike denies the allegations to the extent they do not

accurately represent the ’250 Patent prosecution history’s full content and context. CrowdStrike

lacks knowledge or information sufficient to form a belief as to the truth or falsity of the remaining

allegations in paragraph 63, and therefore denies them.

        64.    CrowdStrike denies that the ’389 Patent discloses anything “unconventional.” To

the extent the allegations in paragraph 64 of the Complaint purport to describe what is disclosed

in the ’389 Patent, CrowdStrike asserts that the ’389 Patent is the best source of its full content and

context. CrowdStrike denies the allegations to the extent they do not accurately represent the ’389

Patent’s full content and context. CrowdStrike lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the remaining allegations in paragraph 64, and therefore denies

them.

        65.    To the extent the allegations in paragraph 65 of the Complaint purport to describe

what is disclosed in the ’389 Patent, CrowdStrike asserts that the ’389 Patent is the best source of

its full content and context. CrowdStrike denies the allegations to the extent they do not accurately

represent the ’389 Patent’s full content and context. CrowdStrike lacks knowledge or information

sufficient to form a belief as to the truth or falsity of the remaining allegations in paragraph 65,

and therefore denies them.

        66.    To the extent the allegations in paragraph 66 of the Complaint purport to describe

what is disclosed in the ’389 Patent and ’250 Patent, CrowdStrike asserts that these patents are the

best source of their full content and context. CrowdStrike denies the allegations to the extent they

do not accurately represent the patents’ full content and context. CrowdStrike lacks knowledge or

information sufficient to form a belief as to the truth or falsity of the remaining allegations in

paragraph 66, and therefore denies them.




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       67.     CrowdStrike denies that the Patents-in-Suit “address issues unique to computer

networks and computer network operation” or that “[t]hese patents all provide unique network

security enhancement that solves [any] technical problem.” CrowdStrike lacks knowledge or

information sufficient to form a belief as to the truth or falsity of the remaining allegations in

paragraph 67, and therefore denies them.

       68.     CrowdStrike denies that the Patents-in-Suit “improve the operation of computer

networks” or that “these patents provide a technological solution to a technology problem.”

CrowdStrike lacks knowledge or information sufficient to form a belief as to the truth or falsity of

the remaining allegations in paragraph 68, and therefore denies them.

                                Alleged Forensic Visibility Patents
                            U.S. Patent Nos. 9,578,045 and 10,257,224

       69.     CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 69, and therefore denies them.

       70.     CrowdStrike admits that what appears to be a copy of United States Patent No.

9,578,045 is attached as Exhibit 3 to the Complaint and that, on its face, the ’045 Patent is entitled

“Methods and Apparatus for Providing Forensic Visibility into Systems and Networks,” and bears

a filing date of May 5, 2014 and an issue date of February 21, 2017. CrowdStrike denies that the

’045 Patent was duly and legally issued. CrowdStrike lacks knowledge or information sufficient

to form a belief as to the truth or falsity of the remaining allegations in paragraph 70, and therefore

denies them.

       71.     CrowdStrike admits that what appears to be a copy of United States Patent No.

10,257,224 is attached as Exhibit 4 to the Complaint and that, on its face, the ’224 Patent is entitled

“Methods and Apparatus for Providing Forensic Visibility into Systems and Networks,” and bears

a filing date of February 20, 2017 and an issue date of April 9, 2019. CrowdStrike denies that the



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’224 Patent was duly and legally issued. CrowdStrike lacks knowledge or information sufficient

to form a belief as to the truth or falsity of the remaining allegations in paragraph 71, and therefore

denies them.

       72.     CrowdStrike denies that the Patents-in-Suit “claim inventive and patentable subject

matter.” To the extent the allegations in paragraph 72 of the Complaint purport to describe what is

disclosed in the ’045 Patent and ’224 Patent, CrowdStrike asserts that the patents are the best

source of their full content and context. CrowdStrike denies the allegations to the extent they do

not accurately represent the patents’ full content and context. CrowdStrike lacks knowledge or

information sufficient to form a belief as to the truth or falsity of the remaining allegations in

paragraph 72, and therefore denies them.

       73.     CrowdStrike denies that the Patents-in-Suit “improved on prior art” or “provid[e] a

technical solution to a technical problem.” To the extent the allegations in paragraph 73 of the

Complaint purport to describe what is disclosed in the ’045 Patent and ’224 Patent, CrowdStrike

asserts that the patents are the best source of their full content and context. CrowdStrike denies the

allegations to the extent they do not accurately represent the patents’ full content and context.

CrowdStrike lacks knowledge or information sufficient to form a belief as to the truth or falsity of

the remaining allegations in paragraph 73, and therefore denies them.

       74.     CrowdStrike denies that the Patents-in-Suit “improve network security” or that they

“identified weakness in conventional systems and processes.” To the extent the allegations in

paragraph 74 of the Complaint purport to describe what is disclosed in the ’045 Patent and ’224

Patent, CrowdStrike asserts that the patents are the best source of their full content and context.

CrowdStrike denies the allegations to the extent they do not accurately represent the patents’ full




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content and context. CrowdStrike lacks knowledge or information sufficient to form a belief as to

the truth or falsity of the remaining allegations in paragraph 74, and therefore denies them.

        75.    To the extent the allegations in paragraph 75 of the Complaint purport to describe

what is disclosed in the ’045 Patent, CrowdStrike asserts that this patent is the best source of its

full content and context. CrowdStrike denies the allegations to the extent they do not accurately

represent the patent’s full content and context. CrowdStrike lacks knowledge or information

sufficient to form a belief as to the truth or falsity of the remaining allegations in paragraph 75,

and therefore denies them.

        76.    CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the remaining allegations in paragraph 76, and therefore denies them.

        77.    CrowdStrike denies that the Patents-in-Suit “disclose technical improvements.” To

the extent the allegations in paragraph 77 of the Complaint purport to describe what is disclosed

in the ’045 Patent, CrowdStrike asserts that this patent is the best source of its full content and

context. CrowdStrike denies the allegations to the extent they do not accurately represent the

patent’s full content and context. CrowdStrike lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the remaining allegations in paragraph 77, and therefore denies

them.

        78.    CrowdStrike denies that the Patents-in-Suit “provide technical advantages and

improvements.” CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the remaining allegations in paragraph 78, and therefore denies them.

        79.    To the extent the allegations in paragraph 79 of the Complaint purport to describe

what is disclosed in the ’045 Patent and ’224 Patent, CrowdStrike asserts that the patents are the

best source of their full content and context. CrowdStrike denies the allegations to the extent they




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do not accurately represent the patents’ full content and context. CrowdStrike lacks knowledge or

information sufficient to form a belief as to the truth or falsity of the remaining allegations in

paragraph 79, and therefore denies them.

       80.     CrowdStrike denies that the Patents-in-Suit disclose any “systems and methods

[that] improve[] the system performance of computing devices.” To the extent the allegations in

paragraph 80 of the Complaint purport to describe what is disclosed in the ’045 Patent prosecution

history, CrowdStrike asserts that the ’045 Patent prosecution history is the best source of its full

content and context. CrowdStrike denies the allegations to the extent they do not accurately

represent the ’045 Patent prosecution history’s full content and context. CrowdStrike lacks

knowledge or information sufficient to form a belief as to the truth or falsity of the remaining

allegations in paragraph 80, and therefore denies them.

       81.     CrowdStrike denies that the Patents-in-Suit are directed to “solving a technical

problem and a specific improvement in computer functionality.” To the extent the allegations in

paragraph 81 of the Complaint purport to describe what is disclosed in the ’045 Patent and ’224

Patent Prosecution Histories, CrowdStrike asserts that these documents are the best source of its

full content and context. CrowdStrike denies the allegations to the extent they do not accurately

represent these documents’ full content and context. CrowdStrike lacks knowledge or information

sufficient to form a belief as to the truth or falsity of the remaining allegations in paragraph 81,

and therefore denies them.

       82.     CrowdStrike denies that the Patents-in-Suit are directed to “provid[ing] a technical

solution to [any] technical problem.” CrowdStrike lacks knowledge or information sufficient to

form a belief as to the truth or falsity of the remaining allegations in paragraph 82, and therefore

denies them.




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                                    U.S. Patent No. 10,284,591

        83.    CrowdStrike admits that what appears to be a copy of United States Patent No.

10,284,591 is attached as Exhibit 5 to the Complaint and that, on its face, the ’591 Patent is entitled

“Detecting and Preventing Execution of Software Exploits,” and bears a filing date of January 27,

2015 and an issue date of May 7, 2019. CrowdStrike denies that the ’591 Patent was duly and

legally issued. CrowdStrike lacks knowledge or information sufficient to form a belief as to the

truth or falsity of the remaining allegations in paragraph 83, and therefore denies them.

        84.    CrowdStrike denies that the ’591 Patent discloses anything “novel.” To the extent

the allegations in paragraph 84 of the Complaint purport to describe what is disclosed in the ’551

Patent, CrowdStrike asserts that this patent is the best source of its full content and context.

CrowdStrike denies the allegations to the extent they do not accurately represent the patent’s full

content and context. CrowdStrike lacks knowledge or information sufficient to form a belief as to

the truth or falsity of the remaining allegations in paragraph 84, and therefore denies them.

        85.    CrowdStrike denies that the ’591 Patent discloses anything “unconventional.” To

the extent the allegations in paragraph 85 of the Complaint purport to describe what is disclosed

in the ’551 Patent, CrowdStrike asserts that this patent is the best source of its full content and

context. CrowdStrike denies the allegations to the extent they do not accurately represent the

patent’s full content and context. CrowdStrike lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the remaining allegations in paragraph 85, and therefore denies

them.

        86.    CrowdStrike denies that the ’591 Patent discloses anything “fundamentally rooted

in computer technology” or “addresses a problem that specifically arises in the realm of computer




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technology.” CrowdStrike lacks knowledge or information sufficient to form a belief as to the truth

or falsity of the remaining allegations in paragraph 86, and therefore denies them.

       87.     CrowdStrike denies that the ’591 Patent discloses anything “unconventional” or

“accomplish[es] an improvement in computer security and functionality” or that it is “directed to

a specific technological solution to a problem unique to computers.” To the extent the allegations

in paragraph 87 of the Complaint purport to describe what is disclosed in the ’551 Patent,

CrowdStrike asserts that this patent is the best source of its full content and context. CrowdStrike

denies the allegations to the extent they do not accurately represent the patent’s full content and

context. CrowdStrike lacks knowledge or information sufficient to form a belief as to the truth or

falsity of the remaining allegations in paragraph 87, and therefore denies them.

                                    U.S. Patent No. 10,599,844

       88.     CrowdStrike admits that what appears to be a copy of United States Patent No.

10,599,844 is attached as Exhibit 6 to the Complaint and that, on its face, the ’844 Patent is entitled

“Automatic Threat Detection of Executable Files Based on Static Data Analysis,” and bears a

filing date of May 12, 2015 and an issue date of March 24, 2020. CrowdStrike denies that the ’844

Patent was duly and legally issued. CrowdStrike lacks knowledge or information sufficient to

form a belief as to the truth or falsity of the remaining allegations in paragraph 88, and therefore

denies them.

       89.     CrowdStrike denies that the ’844 Patent “improves upon conventional approaches.”

To the extent the allegations in paragraph 89 of the Complaint purport to describe what is disclosed

in the ’884 Patent, CrowdStrike asserts that this patent is the best source of its full content and

context. CrowdStrike denies the allegations to the extent they do not accurately represent the

patent’s full content and context. CrowdStrike lacks knowledge or information sufficient to form




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a belief as to the truth or falsity of the remaining allegations in paragraph 89, and therefore denies

them.

        90.    To the extent the allegations in paragraph 90 of the Complaint purport to describe

what is disclosed in the ’884 Patent, CrowdStrike asserts that this patent is the best source of its

full content and context. CrowdStrike denies the allegations to the extent they do not accurately

represent the patent’s full content and context. CrowdStrike lacks knowledge or information

sufficient to form a belief as to the truth or falsity of the remaining allegations in paragraph 90,

and therefore denies them.

        91.    To the extent the allegations in paragraph 91 of the Complaint purport to describe

what is disclosed in the ’884 Patent prosecution history, CrowdStrike asserts that the ’884 Patent

prosecution history is the best source of its full content and context. CrowdStrike denies the

allegations to the extent they do not accurately represent the ’884 Patent prosecution history’s full

content and context. CrowdStrike lacks knowledge or information sufficient to form a belief as to

the truth or falsity of the remaining allegations in paragraph 91, and therefore denies them.

        92.    CrowdStrike denies that the ’844 Patent “significantly improved upon and

addressed shortcomings” in the disclosures set forth in the preceding paragraphs or that it set forth

anything “unconventional” or that it “improves on the operation of the computer network.” To the

extent the allegations in paragraph 92 of the Complaint purport to describe what is disclosed in the

’884 Patent, CrowdStrike asserts that this patent is the best source of its full content and context.

CrowdStrike denies the allegations to the extent they do not accurately represent the patent’s full

content and context. CrowdStrike lacks knowledge or information sufficient to form a belief as to

the truth or falsity of the remaining allegations in paragraph 92, and therefore denies them.




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       93.     To the extent the allegations in paragraph 93 of the Complaint purport to describe

what is disclosed in the ’884 Patent, CrowdStrike asserts that this patent is the best source of its

full content and context. CrowdStrike denies the allegations to the extent they do not accurately

represent the patent’s full content and context. CrowdStrike lacks knowledge or information

sufficient to form a belief as to the truth or falsity of the remaining allegations in paragraph 93,

and therefore denies them.

       94.     To the extent the allegations in paragraph 94 of the Complaint purport to describe

what is disclosed in the ’884 Patent, CrowdStrike asserts that this patent is the best source of its

full content and context. CrowdStrike denies the allegations to the extent they do not accurately

represent the patent’s full content and context. CrowdStrike lacks knowledge or information

sufficient to form a belief as to the truth or falsity of the remaining allegations in paragraph 94,

and therefore denies them.

       95.     CrowdStrike denies that the ’844 Patent is “directed to specific solutions to

problems necessarily rooted in computer technology.” To the extent the allegations in paragraph

95 of the Complaint purport to describe what is disclosed in the ’884 Patent, CrowdStrike asserts

that this patent is the best source of its full content and context. CrowdStrike denies the allegations

to the extent they do not accurately represent the patent’s full content and context. CrowdStrike

lacks knowledge or information sufficient to form a belief as to the truth or falsity of the remaining

allegations in paragraph 95, and therefore denies them.

       96.     CrowdStrike denies that the ’844 Patent discloses “unconventional techniques” or

“addresses a problem necessarily involving computers and improves upon the operation of

computer networks.” To the extent the allegations in paragraph 96 of the Complaint purport to

describe what is disclosed in the ’884 Patent, CrowdStrike asserts that this patent is the best source




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of its full content and context. CrowdStrike denies the allegations to the extent they do not

accurately represent the patent’s full content and context. CrowdStrike lacks knowledge or

information sufficient to form a belief as to the truth or falsity of the remaining allegations in

paragraph 96, and therefore denies them.

                                     ACCUSED PRODUCTS

       97.      CrowdStrike Inc. admits that it offers, sells, and uses products that provide endpoint

security and protect against malware. CrowdStrike denies any of the allegations as against

CrowdStrike in paragraph 97, and specifically denies that it has committed any acts of

infringement.

       98.      CrowdStrike Inc. admits that its products include the CrowdStrike Falcon Platform.

To the extent the allegations in paragraph 98 of the Complaint purport to describe what is disclosed

in documents, CrowdStrike asserts that those documents are the best source of their full content

and context. CrowdStrike denies the allegations to the extent they do not accurately represent the

documents’ full content and context.

       99.      CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 99.

To the extent the allegations in paragraph 99 of the Complaint purport to describe what is disclosed

in documents, CrowdStrike asserts that those documents are the best source of their full content

and context. CrowdStrike denies the allegations to the extent they do not accurately represent the

documents’ full content and context.

       100.     CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 100.

To the extent the allegations in paragraph 100 of the Complaint purport to describe what is

disclosed in documents, CrowdStrike asserts that those documents are the best source of their full




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content and context. CrowdStrike denies the allegations to the extent they do not accurately

represent the documents’ full content and context.

       101.    CrowdStrike Inc. admits that its products include Falcon Prevent. CrowdStrike

denies any of the allegations as against CrowdStrike in paragraph 101. To the extent the allegations

in paragraph 101 of the Complaint purport to describe what is disclosed in documents,

CrowdStrike asserts that those documents are the best source of their full content and context.

CrowdStrike denies the allegations to the extent they do not accurately represent the documents’

full content and context.

       102.    CrowdStrike Inc. admits that its products include Falcon X. CrowdStrike denies

any of the allegations as against CrowdStrike in paragraph 102. To the extent the allegations in

paragraph 102 of the Complaint purport to describe what is disclosed in documents, CrowdStrike

asserts that those documents are the best source of their full content and context. CrowdStrike

denies the allegations to the extent they do not accurately represent the documents’ full content

and context.

       103.    CrowdStrike Inc. admits that its products include Falcon Insight. CrowdStrike

denies any of the allegations as against CrowdStrike in paragraph 103. To the extent the allegations

in paragraph 103 of the Complaint purport to describe what is disclosed in documents,

CrowdStrike asserts that those documents are the best source of their full content and context.

CrowdStrike denies the allegations to the extent they do not accurately represent the documents’

full content and context.

       104.    CrowdStrike Inc. admits that its products include Falcon Firewall Management. To

the extent the allegations in paragraph 104 of the Complaint purport to describe what is disclosed

in documents, CrowdStrike asserts that those documents are the best source of their full content




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and context. CrowdStrike denies the allegations to the extent they do not accurately represent the

documents’ full content and context.

       105.    CrowdStrike Inc. admits that its products include Falcon Spotlight. CrowdStrike

denies any of the allegations as against CrowdStrike in paragraph 105. To the extent the allegations

in paragraph 105 of the Complaint purport to describe what is disclosed in documents,

CrowdStrike asserts that those documents are the best source of their full content and context.

CrowdStrike denies the allegations to the extent they do not accurately represent the documents’

full content and context.

       106.    CrowdStrike Inc. admits that its products include managed services. CrowdStrike

denies any of the allegations as against CrowdStrike in paragraph 106. To the extent the allegations

in paragraph 106 of the Complaint purport to describe what is disclosed in documents,

CrowdStrike asserts that those documents are the best source of their full content and context.

CrowdStrike denies the allegations to the extent they do not accurately represent the documents’

full content and context.

       107.    CrowdStrike Inc. admits that its products include CrowdStrike Threat Graph.

CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 107. To the extent

the allegations in paragraph 107 of the Complaint purport to describe what is disclosed in

documents, CrowdStrike asserts that those documents are the best source of their full content and

context. CrowdStrike denies the allegations to the extent they do not accurately represent the

documents’ full content and context.

       108.    CrowdStrike denies any of the allegations as against CrowdStrike in paragraph 108.

                       PLAINTIFFS’ FIRST CAUSE OF ACTION
                   (ALLEGED INFRINGEMENT OF THE ’250 PATENT)

       109.    CrowdStrike reasserts and incorporates its responses in the preceding paragraphs.



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       110.    CrowdStrike denies the allegations in paragraph 110 of the Complaint.

       111.    CrowdStrike admits that what appears to be claim 1 of the ’250 Patent is recited at

paragraph 111 of the Complaint. CrowdStrike denies the remaining allegations in paragraph 111.

       112.    CrowdStrike denies the allegations in paragraph 112 of the Complaint.

       113.    CrowdStrike denies the allegations in paragraph 113 of the Complaint.

       114.    CrowdStrike denies the allegations in paragraph 114 of the Complaint.

       115.    CrowdStrike denies the allegations in paragraph 115 of the Complaint.

       116.    CrowdStrike denies the allegations in paragraph 116 of the Complaint.

       117.    CrowdStrike denies the allegations in paragraph 117 of the Complaint.

       118.    CrowdStrike denies the allegations in paragraph 118 of the Complaint.

       119.    CrowdStrike denies the allegations in paragraph 119 of the Complaint.

       120.    CrowdStrike denies the allegations in paragraph 120 of the Complaint.

       121.    CrowdStrike denies the allegations in paragraph 121 of the Complaint.

       122.    CrowdStrike denies the allegations in paragraph 122 of the Complaint.

       123.    CrowdStrike denies the allegations in paragraph 123 of the Complaint.

       124.    CrowdStrike denies the allegations in paragraph 124 of the Complaint.

       125.    CrowdStrike denies the allegations in paragraph 125 of the Complaint.

       126.    CrowdStrike denies the allegations in paragraph 126 of the Complaint.

       127.    CrowdStrike denies the allegations in paragraph 127 of the Complaint.

       128.    CrowdStrike denies the allegations in paragraph 128 of the Complaint.

       129.    CrowdStrike denies the allegations in paragraph 129 of the Complaint.

       130.    CrowdStrike admits that it became aware of the ’250 patent as of the date it was

notified of the filing of this action. CrowdStrike lacks knowledge or information sufficient to form




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a belief as to the truth or falsity of the remaining allegations in paragraph 130, and therefore denies

them.

        131.   CrowdStrike denies the allegations in paragraph 131 of the Complaint.

        132.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 132 of the Complaint.

        133.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect and

willful infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its

Answer herein. CrowdStrike denies the remaining allegations in paragraph 133 of the Complaint.

        134.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 134 of the Complaint.

        135.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 135 of the Complaint.

        136.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 136 of the Complaint.

        137.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 137 of the Complaint.




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       138.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 138 of the Complaint.

       139.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 139 of the Complaint.

       140.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 140 of the Complaint.

       141.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 141 of the Complaint.

       142.   CrowdStrike denies the allegations in paragraph 142 of the Complaint.

       143.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 143 of the Complaint.

       144.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 144 of the Complaint.

                     PLAINTIFFS’ SECOND CAUSE OF ACTION
                  (ALLEGED INFRINGEMENT OF THE ’389 PATENT)

       145.   CrowdStrike reasserts and incorporates its responses in the preceding paragraphs.

       146.   CrowdStrike denies the allegations in paragraph 146 of the Complaint.




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       147.   CrowdStrike admits that what appears to be claim 1 of the ’389 Patent is recited at

paragraph 147 of the Complaint. CrowdStrike denies the remaining allegations in paragraph 147.

       148.   CrowdStrike denies the allegations in paragraph 148 of the Complaint.

       149.   CrowdStrike denies the allegations in paragraph 149 of the Complaint.

       150.   CrowdStrike denies the allegations in paragraph 150 of the Complaint.

       151.   CrowdStrike denies the allegations in paragraph 151 of the Complaint.

       152.   CrowdStrike denies the allegations in paragraph 152 of the Complaint.

       153.   CrowdStrike denies the allegations in paragraph 153 of the Complaint.

       154.   CrowdStrike denies the allegations in paragraph 154 of the Complaint.

       155.   CrowdStrike denies the allegations in paragraph 155 of the Complaint.

       156.   CrowdStrike denies the allegations in paragraph 156 of the Complaint.

       157.   CrowdStrike denies the allegations in paragraph 157 of the Complaint.

       158.   CrowdStrike denies the allegations in paragraph 158 of the Complaint.

       159.   CrowdStrike denies the allegations in paragraph 159 of the Complaint.

       160.   CrowdStrike denies the allegations in paragraph 160 of the Complaint.

       161.   CrowdStrike denies the allegations in paragraph 161 of the Complaint.

       162.   CrowdStrike denies the allegations in paragraph 162 of the Complaint.

       163.   CrowdStrike denies the allegations in paragraph 163 of the Complaint.

       164.   CrowdStrike denies the allegations in paragraph 164 of the Complaint.

       165.   CrowdStrike denies the allegations in paragraph 165 of the Complaint.

       166.   CrowdStrike denies the allegations in paragraph 166 of the Complaint.

       167.   CrowdStrike denies the allegations in paragraph 167 of the Complaint.

       168.   CrowdStrike denies the allegations in paragraph 168 of the Complaint.




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        169.   CrowdStrike denies the allegations in paragraph 169 of the Complaint.

        170.   CrowdStrike denies the allegations in paragraph 170 of the Complaint.

        171.   CrowdStrike denies the allegations in paragraph 171 of the Complaint.

        172.   CrowdStrike admits that it became aware of the ’389 Patent as of the date it was

notified of the filing of this action. CrowdStrike lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the remaining allegations in paragraph 172, and therefore denies

them.

        173.   CrowdStrike denies the allegations in paragraph 173 of the Complaint.

        174.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 174 of the Complaint.

        175.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect and

willful infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its

Answer herein. CrowdStrike denies the remaining allegations in paragraph 175 of the Complaint.

        176.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 176 of the Complaint.

        177.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 177 of the Complaint.

        178.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 178 of the Complaint.




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       179.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 179 of the Complaint.

       180.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 180 of the Complaint.

       181.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 181 of the Complaint.

       182.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 182 of the Complaint.

       183.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 183 of the Complaint.

       184.   CrowdStrike denies the allegations in paragraph 184 of the Complaint.

       185.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 185 of the Complaint.

       186.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 186 of the Complaint.




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                      PLAINTIFFS’ THIRD CAUSE OF ACTION
                  (ALLEGED INFRINGEMENT OF THE ’045 PATENT)

       187.    CrowdStrike reasserts and incorporates its responses in the preceding paragraphs.

       188.    CrowdStrike denies the allegations in paragraph 188 of the Complaint.

       189.    CrowdStrike admits that what appears to be claim 1 of the ’045 Patent is recited at

paragraph 189 of the Complaint. CrowdStrike denies the remaining allegations in paragraph 189.

       190.    CrowdStrike denies the allegations in paragraph 190 of the Complaint.

       191.    CrowdStrike denies the allegations in paragraph 191 of the Complaint.

       192.    CrowdStrike denies the allegations in paragraph 192 of the Complaint.

       193.    CrowdStrike denies the allegations in paragraph 193 of the Complaint.

       194.    CrowdStrike denies the allegations in paragraph 194 of the Complaint.

       195.    CrowdStrike denies the allegations in paragraph 195 of the Complaint.

       196.    CrowdStrike denies the allegations in paragraph 196 of the Complaint.

       197.    CrowdStrike denies the allegations in paragraph 197 of the Complaint.

       198.    CrowdStrike denies the allegations in paragraph 198 of the Complaint.

       199.    CrowdStrike denies the allegations in paragraph 199 of the Complaint.

       200.    CrowdStrike denies the allegations in paragraph 200 of the Complaint.

       201.    CrowdStrike denies the allegations in paragraph 201 of the Complaint.

       202.    CrowdStrike denies the allegations in paragraph 202 of the Complaint.

       203.    CrowdStrike denies the allegations in paragraph 203 of the Complaint.

       204.    CrowdStrike denies the allegations in paragraph 204 of the Complaint.

       205.    CrowdStrike denies the allegations in paragraph 205 of the Complaint.

       206.    CrowdStrike admits that it became aware of the ’045 Patent as of the date it was

notified of the filing of this action. CrowdStrike lacks knowledge or information sufficient to form



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a belief as to the truth or falsity of the remaining allegations in paragraph 206, and therefore denies

them.

        207.   CrowdStrike denies the allegations in paragraph 207 of the Complaint.

        208.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 208 of the Complaint.

        209.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect and

willful infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its

Answer herein. CrowdStrike denies the remaining allegations in paragraph 209 of the Complaint.

        210.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 210 of the Complaint.

        211.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 211 of the Complaint.

        212.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 212 of the Complaint.

        213.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 213 of the Complaint.




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       214.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 214 of the Complaint.

       215.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 215 of the Complaint.

       216.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 216 of the Complaint.

       217.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 217 of the Complaint.

       218.   CrowdStrike denies the allegations in paragraph 218 of the Complaint.

       219.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 219 of the Complaint.

       220.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 220 of the Complaint.

                     PLAINTIFFS’ FOURTH CAUSE OF ACTION
                  (ALLEGED INFRINGEMENT OF THE ’224 PATENT)

       221.   CrowdStrike reasserts and incorporates its responses in the preceding paragraphs.

       222.   CrowdStrike denies the allegations in paragraph 222 of the Complaint.




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        223.   CrowdStrike admits that what appears to be claim 1 of the ’224 Patent is recited at

paragraph 223 of the Complaint. CrowdStrike denies the remaining allegations in paragraph 223.

        224.   CrowdStrike denies the allegations in paragraph 224 of the Complaint.

        225.   CrowdStrike denies the allegations in paragraph 225 of the Complaint.

        226.   CrowdStrike denies the allegations in paragraph 226 of the Complaint.

        227.   CrowdStrike denies the allegations in paragraph 227 of the Complaint.

        228.   CrowdStrike denies the allegations in paragraph 228 of the Complaint.

        229.   CrowdStrike denies the allegations in paragraph 229 of the Complaint.

        230.   CrowdStrike denies the allegations in paragraph 230 of the Complaint.

        231.   CrowdStrike denies the allegations in paragraph 231 of the Complaint.

        232.   CrowdStrike denies the allegations in paragraph 232 of the Complaint.

        233.   CrowdStrike denies the allegations in paragraph 233 of the Complaint.

        234.   CrowdStrike denies the allegations in paragraph 234 of the Complaint.

        235.   CrowdStrike denies the allegations in paragraph 235 of the Complaint.

        236.   CrowdStrike denies the allegations in paragraph 236 of the Complaint.

        237.   CrowdStrike denies the allegations in paragraph 237 of the Complaint.

        238.   CrowdStrike denies the allegations in paragraph 238 of the Complaint.

        239.   CrowdStrike denies the allegations in paragraph 239 of the Complaint.

        240.   CrowdStrike admits that it became aware of the ’224 Patent as of the date it was

notified of the filing of this action. CrowdStrike lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the remaining allegations in paragraph 240, and therefore denies

them.

        241.   CrowdStrike denies the allegations in paragraph 241 of the Complaint.




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       242.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 242 of the Complaint.

       243.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect and

willful infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its

Answer herein. CrowdStrike denies the remaining allegations in paragraph 243 of the Complaint.

       244.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 244 of the Complaint.

       245.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 245 of the Complaint.

       246.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 246 of the Complaint.

       247.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 247 of the Complaint.

       248.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 248 of the Complaint.




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       249.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 249 of the Complaint.

       250.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 250 of the Complaint.

       251.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 251 of the Complaint.

       252.   CrowdStrike denies the allegations in paragraph 252 of the Complaint.

       253.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 253 of the Complaint.

       254.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 254 of the Complaint.

                      PLAINTIFFS’ FIFTH CAUSE OF ACTION
                  (ALLEGED INFRINGEMENT OF THE ’591 PATENT)

       255.   CrowdStrike reasserts and incorporates its responses in the preceding paragraphs.

       256.   CrowdStrike denies the allegations in paragraph 256 of the Complaint.

       257.   CrowdStrike admits that what appears to be claim 1 of the ’591 Patent is recited at

paragraph 257 of the Complaint. CrowdStrike denies the remaining allegations in paragraph 257.

       258.   CrowdStrike denies the allegations in paragraph 258 of the Complaint.

       259.   CrowdStrike denies the allegations in paragraph 259 of the Complaint.



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        260.   CrowdStrike denies the allegations in paragraph 260 of the Complaint.

        261.   CrowdStrike denies the allegations in paragraph 261 of the Complaint.

        262.   CrowdStrike denies the allegations in paragraph 262 of the Complaint.

        263.   CrowdStrike denies the allegations in paragraph 263 of the Complaint.

        264.   CrowdStrike denies the allegations in paragraph 264 of the Complaint.

        265.   CrowdStrike denies the allegations in paragraph 265 of the Complaint.

        266.   CrowdStrike denies the allegations in paragraph 266 of the Complaint.

        267.   CrowdStrike denies the allegations in paragraph 267 of the Complaint.

        268.   CrowdStrike denies the allegations in paragraph 268 of the Complaint.

        269.   CrowdStrike denies the allegations in paragraph 269 of the Complaint.

        270.   CrowdStrike denies the allegations in paragraph 270 of the Complaint.

        271.   CrowdStrike denies the allegations in paragraph 271 of the Complaint.

        272.   CrowdStrike denies the allegations in paragraph 272 of the Complaint.

        273.   CrowdStrike denies the allegations in paragraph 273 of the Complaint.

        274.   CrowdStrike denies the allegations in paragraph 274 of the Complaint.

        275.   CrowdStrike denies the allegations in paragraph 275 of the Complaint.

        276.   CrowdStrike denies the allegations in paragraph 276 of the Complaint.

        277.   CrowdStrike denies the allegations in paragraph 277 of the Complaint.

        278.   CrowdStrike admits that it became aware of the ’591 Patent as of the date it was

notified of the filing of this action. CrowdStrike lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the remaining allegations in paragraph 278, and therefore denies

them.

        279.   CrowdStrike denies the allegations in paragraph 279 of the Complaint.




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       280.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 280 of the Complaint.

       281.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect and

willful infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its

Answer herein. CrowdStrike denies the remaining allegations in paragraph 281 of the Complaint.

       282.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 282 of the Complaint.

       283.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 283 of the Complaint.

       284.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 284 of the Complaint.

       285.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 285 of the Complaint.

       286.    Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 286 of the Complaint.




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       287.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 287 of the Complaint.

       288.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 288 of the Complaint.

       289.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 289 of the Complaint.

       290.   CrowdStrike denies the allegations in paragraph 290 of the Complaint.

       291.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 291 of the Complaint.

       292.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 292 of the Complaint.

                      PLAINTIFFS’ SIXTH CAUSE OF ACTION
                  (ALLEGED INFRINGEMENT OF THE ’844 PATENT)

       293.   CrowdStrike reasserts and incorporates its responses in the preceding paragraphs.

       294.   CrowdStrike denies the allegations in paragraph 294 of the Complaint.

       295.   CrowdStrike admits that what appears to be claim 1 of the ’844 Patent is recited at

paragraph 295 of the Complaint. CrowdStrike denies the remaining allegations in paragraph 295.

       296.   CrowdStrike denies the allegations in paragraph 296 of the Complaint.

       297.   CrowdStrike denies the allegations in paragraph 297 of the Complaint.



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        298.   CrowdStrike denies the allegations in paragraph 298 of the Complaint.

        299.   CrowdStrike denies the allegations in paragraph 299 of the Complaint.

        300.   CrowdStrike denies the allegations in paragraph 300 of the Complaint.

        301.   CrowdStrike denies the allegations in paragraph 301 of the Complaint.

        302.   CrowdStrike denies the allegations in paragraph 302 of the Complaint.

        303.   CrowdStrike denies the allegations in paragraph 303 of the Complaint.

        304.   CrowdStrike denies the allegations in paragraph 304 of the Complaint.

        305.   CrowdStrike denies the allegations in paragraph 305 of the Complaint.

        306.   CrowdStrike denies the allegations in paragraph 306 of the Complaint.

        307.   CrowdStrike admits that it became aware of the ’884 patent as of the date it was

notified of the filing of this action. CrowdStrike lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the remaining allegations in paragraph 307, and therefore denies

them.

        308.   CrowdStrike denies the allegations in paragraph 308 of the Complaint.

        309.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 309 of the Complaint.

        310.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect and

willful infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its

Answer herein. CrowdStrike denies the remaining allegations in paragraph 310 of the Complaint.

        311.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 311 of the Complaint.




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       312.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 312 of the Complaint.

       313.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 313 of the Complaint.

       314.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 314 of the Complaint.

       315.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 315 of the Complaint.

       316.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 316 of the Complaint.

       317.   Plaintiffs dismissed their allegations in the Complaint as to pre-suit indirect

infringement (Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer

herein. CrowdStrike denies the remaining allegations in paragraph 317 of the Complaint.

       318.   Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 318 of the Complaint.

       319.   CrowdStrike denies the allegations in paragraph 319 of the Complaint.




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        320.    Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 320 of the Complaint.

        321.    Plaintiffs dismissed their allegations in the Complaint as to willful infringement

(Dkt. 22), and thus, CrowdStrike does not respond to those allegations in its Answer herein.

CrowdStrike denies the remaining allegations in paragraph 321 of the Complaint.

                                     PRAYER FOR RELIEF

        CrowdStrike denies that Plaintiffs are entitled to any relief whatsoever, including all relief

requested in Plaintiffs’ “Prayer for Relief.” To the extent any statement in the Prayer for Relief is

deemed factual, it is denied.

                                 DEMAND FOR JURY TRIAL

        This paragraph sets forth Plaintiffs’ jury demand and requires no response.

                           AFFIRMATIVE DEFENSES/DEFENSES

        1.      Subject to the responses above, CrowdStrike alleges and asserts the following

defenses in response to the allegations, which are based upon an investigation that is not complete,

undertaking the burden of proof only as to those defenses deemed affirmative defenses by law,

regardless of how such defenses are denominated herein. In addition to the defenses described

below, subject to its responses above, CrowdStrike specifically reserves all rights to allege

additional defenses that become known through the course of discovery and further investigation

in this case.

                                        FIRST DEFENSE
                                        (Non-Infringement)

        2.      CrowdStrike does not infringe and has not infringed, directly or indirectly, either

literally or under the doctrine of equivalents, contributed to the infringement of, or induced the



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infringement of and is not liable for infringement of any valid and enforceable claim of the ’250,

’389, ’045, ’224, ’591, and ’844 Patents (collectively, the “Patents-in-Suit”), including under the

reverse doctrine of equivalents.

                                       SECOND DEFENSE
                                          (Invalidity)

       3.      The claims of the Patents-in-Suit are invalid and unenforceable under 35 U.S.C. §

101 because the claims are directed to abstract ideas or other non-statutory subject matter.

       4.      The claims of the Patents-in-Suit are invalid and unenforceable under 35 U.S.C. §

102 because the claims lack novelty, and are taught and suggested by the prior art.

       5.      The claims of the Patents-in-Suit are invalid and unenforceable under 35 U.S.C. §

103 because the claims are obvious in view of the prior art.

       6.      The claims of the Patents-in-Suit are invalid and unenforceable for obviousness-

type double patenting.

       7.      The claims of the Patents-in-Suit are invalid and unenforceable for failure to satisfy

the conditions set forth in 35 U.S.C. § 112, including failure of written description, lack of

enablement, and claim indefiniteness.

                                      THIRD DEFENSE
                  (Failure To State A Claim On Which Relief May Be Grated)

       8.      Plaintiffs fail to state a claim on which relief may be granted, including by failing

to adequately plead indirect infringement or willful infringement.

                                       FOURTH DEFENSE
                                   (Prosecution History Estoppel)

       9.      By reason of statements, representations, concessions, admissions, arguments,

and/or amendments, whether explicit or implicit, made by or on behalf of the applicants during the

prosecution of the patent applications that led to the issuance of the Patents-in-Suit, Plaintiffs’



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claims of patent infringement are barred in whole or in part by the doctrine of prosecution history

estoppel.

                                         FIFTH DEFENSE
                                        (Estoppel and Laches)

       10.     On information and belief, Plaintiffs’ claims are barred, in whole or in part, by the

doctrines of estoppel, laches, disclaimer, and/or waiver.

                                       SIXTH DEFENSE
                                 (Limitations on Patent Damages)

       Plaintiffs’ claims for damages, if any, against CrowdStrike for alleged infringement of the

Patents-in-Suit are limited by 35 U.S.C. §§ 286, 287, and/or 288. Plaintiffs’ claims for damages

also are limited by 28 U.S.C. § 1498.

                                      SEVENTH DEFENSE
                                       (No Irreparable Harm)

       11.     Plaintiffs are not entitled to any form of injunctive relief because Plaintiffs have not

suffered and will not suffer irreparable harm due to CrowdStrike’s alleged infringement and

Plaintiffs have an adequate remedy at law.

                                        EIGHTH DEFENSE
                                          (Unclean Hands)

       12.     Plaintiffs’ claims are barred by the doctrine of unclean hands.

                                       NINTH DEFENSE
                                 (Disclosure Dedication Defense)

       13.     By reason of proceedings in the United States Patent & Trademark Office, and by

reasons of amendments, statements, admissions, omissions and/or representations made by the

applicants or on their behalf, Plaintiffs are estopped from asserting infringement of the Patents-in-

Suit against CrowdStrike.




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                       RESERVATION OF ADDITIONAL DEFENSES

         14.    CrowdStrike expressly reserves the right to raise and allege additional defenses

pursuant to Rule 8 of the Federal Rules of Civil Procedure, the patent laws of the United States,

and any other defenses at law or in equity, that may exist or in the future may be available based

on further investigation and discovery.

                                  DEMAND FOR JURY TRIAL

         15.    CrowdStrike respectfully requests a jury trial on issues so triable by right.

                                    REQUEST FOR RELIEF

         WHEREFORE, CrowdStrike respectfully requests that the Court enter judgment in its

favor and against Plaintiffs as follows:

         1.     Dismissing, with prejudice, Plaintiffs’ claims against CrowdStrike;

         2.     Denying all relief that Plaintiffs seek in the Complaint;

         3.     Finding this case to be exceptional under 35 U.S.C. § 285 and awarding

CrowdStrike its costs and attorneys’ fees; and

         4.     Awarding any other relief the Court deems just and equitable.

                                       COUNTERCLAIMS

         In accordance with Rule 13 of the Federal Rules of Civil Procedure, CrowdStrike hereby

alleges and asserts the following Counterclaims against Webroot:

                                           THE PARTIES

         1.     Counterclaim Plaintiff CrowdStrike, Inc. (“CrowdStrike”)2 is a Delaware

corporation with its principal place of business at 150 Mathilda Place, Suite 300, Sunnyvale, CA

94086.


2
    CrowdStrike, Inc. is referred to in CrowdStrike’s Counterclaims as “CrowdStrike.”


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       2.      On information and belief, Counterclaim Defendant Webroot, Inc. (“Webroot”) is

a Delaware corporation with its principal place of business at 285 Interlocken Crescent, Suite 800,

Broomfield, CO 80021.

       3.      On information and belief, Counterclaim Defendant OpenText, Inc. (“OpenText”)3

is a Delaware corporation with its principal place of business at 275 Frank Tompa Drive, Waterloo,

ON N2L 0A1, Canada. On information and belief, OpenText can be served through its registered

agent, Corporation Service Company, 251 Little Falls Drive, Wilmington, Delaware, 19808.

                                JURISDICTION AND VENUE

       4.      CrowdStrike’s Counterclaims arise under the patent laws of the United States, 35

U.S.C. § 1 et seq., and the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq. This Court

has subject matter jurisdiction over CrowdStrike’s Counterclaims under 28 U.S.C. §§ 1331, 1338,

2201, and 2202. An actual controversy exists under the Declaratory Judgment Act because

Counterclaim-Defendants have asserted and are asserting infringement of U.S. Patent Nos.

8,418,250 (“the ’250 Patent”); 8,726,389 (“the ’389 Patent”); 9,578,045 (“the ’045 Patent”);

10,257,224 (“the ’224 Patent”); 10,284,591 (“the ’591 Patent”); and 10,859,844 (“the ’844

Patent”) (collectively, the “Patents-in-Suit”) by CrowdStrike and CrowdStrike denies those

allegations.

       5.      The court has personal jurisdiction over Counterclaim-Defendants at least by virtue

of their consent to the personal jurisdiction of this Court by the filing of their Complaint against

CrowdStrike in this Court.




3
    Webroot and OpenText are collectively referred to in CrowdStrike’s Counterclaims as
“Counterclaim-Defendants.”


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       6.      For the purposes of the Counterclaims set forth herein, and without waiving any

defense of lack of venue or improper venue in connection with the Complaint filed by

Counterclaim-Defendants and its causes of action, venue is proper in this District under 28 U.S.C.

§§ 1391(b)-(c) and 1400(b) because: (1) this action was filed in this District by Counterclaim-

Defendants and Counterclaim-Defendants have thus submitted to personal jurisdiction in this

Court and has consented to this venue by filing its Complaint here; and (2) some of the present

Counterclaims are in response to the allegations raised in Counterclaim-Defendants’ Complaint.

                                 FACTUAL BACKGROUND

                                           The Parties

       7.      CrowdStrike is a pioneer in endpoint security for preventing malware attacks.

       8.      Since 2011, CrowdStrike has redefined security with the world’s most advanced

cloud-native solutions that protect and enable the people, processes and technologies that drive

modern enterprise. CrowdStrike has received numerous awards and accolades year-after-year for

its continued groundbreaking innovation in the security sector.

       9.      For example, early on in 2015 CrowdStrike was named as one of Forbes Most

Promising Companies. That same year, CrowdStrike was named Technology Pioneer by World

Economic Forum. CrowdStrike has also been recognized as a Deloitte Technology Fast 500

company (2016), was named in the CNBC Disruptor 50 List (2017) and in Forbes’ 2017 Cloud

100 List. CrowdStrike was named a “Visionary” by Gartner (2018) and won SC Magazine’s 2020

Best Security Company Award. These are just a few examples.

       10.     Today CrowdStrike has grown from a technology startup into a successful, publicly

traded company. CrowdStrike’s patented solutions secure the most critical areas of enterprise risk

to keep customers ahead of today’s adversaries and stop breaches. Powered by the CrowdStrike

Security Cloud, the CrowdStrike Falcon Platform leverages real-time indicators of attack and


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threat intelligence to prevent malware attacks. CrowdStrike customers benefit from superior

protection, better perfonnance, reduced complexity and immediate time-to-value. N o other

company is able to provide the level of service and security protection that CrowdSti·ike is able to

provide to its customers.

       11 .      Webroot is a software company. Since its inception, Webroot has offered a variety

of antivirns solutions, but has failed to keep up with the demands of the complex, ever-evolving

security market. For example, in 2019 hackers gained access to a Webroot SecureAnywhere

console and used it to spread m alicious ransomware.4 Webroot's products and services do not rival

th ose provided by CrowdSu-ike.

       12.




-
       13.       After years of sti11ggling to gain a foothold in the industry, Webroot and its now-

parent company OpenText have reso1ied to a large-scale patent monetization campaign. Instead of


4
    See Ex. C.




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competing in the marketplace, the Counterclaim-Defendants now use their patents to compete in

the courtroom. In 2022 alone, Counterclaim-Defendants filed five complaints alleging

infringement of their patents. Aside from their patent infringement action against CrowdStrike,

Counterclaim-Defendants have filed patent infringement actions against Forcepoint, Trend Micro,

Sophos Limited and Kaspersky.6

       14.     Contrary to Counterclaim-Defendants’ allegations in their Complaint, however, as

discussed below, it is the Counterclaim-Defendants that have capitalized from CrowdStrike’s

successful innovation by willfully infringing CrowdStrike’s patented technology and using this

patented technology in Counterclaim-Defendant Webroot’s products and to maintain

Counterclaim-Defendant OpenText’s own security.

                            CrowdStrike’s Intellectual Property Rights

       15.     CrowdStrike’s patents claim fundamental innovations that improve reliability,

efficiency, and quality in endpoint security. These innovations are critical to a customer’s ability

to protect against malware reliably and effectively. CrowdStrike’s patented technology has gained

widespread popularity in the industry, as is evident by the fact that

                                                      and is found in many security products today.

The two Asserted Counterclaim Patents discussed below are examples of CrowdStrike’s patented

technology that capture and reflect these innovations.

       16.     U.S. Patent No. 9,043,903 (“the ’903 Patent”) and U.S. Patent No. 9,904,784 (“the

’784 Patent”) (collectively, “the Asserted Counterclaim Patents”) are part of the same patent

family and generally disclose and claim systems and processes related to kernel-level security.



6
  See Case Nos. 6-22-cv-00243 (W.D. Tex.), 6-22-cv-00240 (W.D. Tex.), 6-22-cv-00239 (W.D.
Tex.) and 6-22-cv-00342 (W.D. Tex.).


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        17.     CrowdStrike, Inc. is and has been the owner of all rights, title and interest in the

’903 Patent, entitled “Kernel-Level Security Agent” since it was duly and properly issued by the

United States Patent and Trademark Office (“USPTO”) on May 26, 2015. CrowdStrike owns all

rights, title, and interest in the ’903 Patent, and holds all substantial rights pertinent to this suit,

including the right to sue and recover for all past, current, and future infringement. CrowdStrike

is the current assignee of the ’903 Patent. A true and correct copy of the ’903 Patent is attached as

Exhibit A. The inventions set forth in the ’903 Patent relate to a kernel-level security agent.

        18.     CrowdStrike, Inc. is and has been the owner of all rights, title and interest in the

’784 Patent, entitled “Kernel-Level Security Agent” since it was duly and properly issued by the

USPTO on February 27, 2018. CrowdStrike owns all rights, title, and interest in the ’784 Patent,

and holds all substantial rights pertinent to this suit, including the right to sue and recover for all

past, current, and future infringement. CrowdStrike is the current assignee of the ’784 Patent. A

true and correct copy of the ’784 Patent is attached as Exhibit B. The inventions set forth in the

’784 Patent relate to a kernel-level security agent.

        19.     Prior to the inventions set forth in the ’903 and ’784 Patents, traditional antivirus

software utilized “signature-based” and heuristic techniques to detect malware, which involved

receiving malware definitions from a remote security service and scanning a host device to see

whether any matching malware definitions were present. See, e.g., ’784 Patent at 1:32-38.7 This

type of malware detection was limited by available static malware definitions and, thus, incapable

of adapting to new types of malware.




7
  Since the ’784 and ’903 Patents share the same specification, citations to one specification apply
equally to the other specification.


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        20.    The ’903 and ’784 Patents are directed to patentable subject matter that improves

on this prior art antivirus software by disclosing the tools used for malware detection to greatly

reduce a machine’s susceptibility to malware. For example, as recited in the claims of the ’784 and

’903 Patents, the claimed security system “observ[es]” “events” in a host computing device and

filters them (in addition to other claimed steps) to determine whether a virus is present instead of

relying on fixed malware signatures as taught by the prior art. See, e.g., ’784 Patent at 3:38-51,

claim 1; ’903 Patent at claim 21. By relying on event data rather than fixed signatures, the claimed

inventions are able to detect malware even if adversaries modify its signature. ’784 Patent at 3:42-

45.

        21.    Further, the Asserted Counterclaim Patents provide a technical solution by allowing

the machine to take preventable actions to limit the machine’s exposure to malware and prevent

its spread. For example, the aforementioned event monitoring allows security agents to fool

adversaries into thinking malware is working while taking preventative action to avoid its spread.

Id. at 3:45-51, claim 1; ’903 Patent at claim 21. Thus, the ’784 and ’903 Patents provide novel and

unconventional solutions to these issues, including real-time event monitoring and filtering to

enable updated preventative action in the face of changing malware definitions. See, e.g., ’784

Patent claim 1; ’903 Patent claim 21.

        22.    In addition, the ’903 and ’784 Patents also enable real-time updates related to

threats across remote devices. Instead of receiving malware definition updates from a static remote

security service as in traditional systems (’903 Patent at 1:19-22), the inventions in the ’903 and

the ’784 patents allow endpoints to communicate information about known malware threats across

remote devices or groups via the cloud. See, e.g., id. at 2:19-37. This innovation was a critical




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security enhancement, since traditionally target machines operated as isolated “security islands”

and purveyors of malware could separately attack a number of targets with no obstacle.

       23.     These innovations represent a major breakthrough in the security space. Indeed,

CrowdStrike’s new technology has paved the way for CrowdStrike’s continued success and

exponential growth year-over-year.

       24.     CrowdStrike’s invention has also won widespread industry praise. For example, as

mentioned above, the Falcon Platform, which incorporates CrowdStrike’s patented technologies

at issue, has won numerous awards for the effectiveness of its threat intelligence.

       25.     Webroot (and its parent OpenText) are now attempting to capitalize off of

CrowdStrike’s groundbreaking innovation. As discussed in more detail below, Counterclaim-

Defendants have copied CrowdStrike’s inventive technology through Webroot’s SecureAnywhere

and BrightCloud Intelligence offerings. Counterclaim-Defendants continue to violate

CrowdStrike’s patented rights by using these technologies without a license.

       26.     Webroot (and, thus, its parent OpenText) provides endpoint security software and

systems that, without authorization, implement CrowdStrike’s patented technologies. Webroot’s

infringing security software and services include, but are not limited to, Webroot’s

SecureAnywhere/Endpoint Protection and Webroot Intelligence Network/BrightCloud offerings

(“Accused Webroot Products”), including prior versions and functionalities that are the same or

essentially the same as that described herein.

       27.     CrowdStrike brings these counterclaims to seek damages for and to ultimately stop

Counterclaim-Defendants’ continued infringement of CrowdStrike’s Asserted Counterclaim

Patents by the Accused Webroot Products, as discussed in detail below. As a result of

Counterclaim-Defendants’ unlawful competition in this District and elsewhere in the United




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States, CrowdStrike has lost sales and profits and suffered irreparable harm, including lost market

share and goodwill.

                 Counterclaim-Defendants’ Alleged Claims Against CrowdStrike

       28.     Webroot claims to own the Patents-in-Suit, which purport to cover technologies

relating to endpoint security.

       29.     Counterclaim-Defendants have accused the CrowdStrike Counterclaimants of

infringing the Patents-in-Suit through the CrowdStrike Counterclaimants’ alleged making, using,

advertising, offering for sale, installing, selling and/or otherwise providing one or more of the

products and services known as the Falcon Platform, which provides endpoint protection (referred

to as the “Accused CrowdStrike Products”).

                                      FIRST COUNT
          (Infringement by Counterclaim-Defendants of U.S. Patent No. 9,043,903 B2)

       30.     CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.

       31.     Counterclaim-Defendants have infringed and continue to infringe one or more

claims of the ’903 Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the United

States and will continue to do so unless enjoined by this Court. CrowdStrike will continue to suffer

irreparable harm unless this Court enjoins Counterclaim-Defendants, their agents, employees,

representatives, and all others acting in concert with Counterclaim-Defendants from infringing the

’903 Patent.

       32.     As set forth in detail below (and the corresponding Exhibits thereto), Webroot’s

SecureAnywhere/Endpoint Protection infringes at least claims 21 and 23 of the ’903 Patent.

       33.     For example, claim 21 of the ’903 Patent recites:

       21. A computer-implemented method comprising:



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                observing, by a kernel-level security agent, events on a computing device;

                filtering, by the kernel-level security agent, the observed events using
                configurable filters;

                routing, by the kernel-level security agent, the filtered events to one or
                more kernel-mode event consumers of the kernel-level security agent; and

                taking action, by the kernel-level security agent, based at least on one of
                the filtered events, wherein taking the action includes communicating, by
                a communications module of the kernel-level security agent, with one or
                more remote systems, the communications module being implemented at
                the kernel-level.

       34.      To    the    extent     the    preamble      is   considered      limiting,    Webroot’s

SecureAnywhere/Endpoint Protection meets the preamble of claim 21 of the ’903 Patent. See, e.g.:




         WSA Business - Endpoint Protection Admin Guide
         Overview
         Webroot Se ureAnywhereTr.t Endpoint Protection ecure your enterpri e from mfllware and other threat by
         combining V ebroot' beha ior recognition technology ith cloud computing. Endpoint Protection include a
         Management Portal, al o call.ed an Ad.min Console which is a entrahzed web ite u d to v:iew and manage
         your endpoints.

         An endpoint can be any Window corporate, or: tation, uch a a PC, laptop, erver or virtual erver. You
         can d ploy SecureAnywhere oftware to these endpoints within econds, prot cti.ng user immediately. On e
         Se ureAnywhere mns a scan on the endpoints it reports their · tants into the Management Portal.


(Ex. D at 2.)




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           Webroot SecureAnywhere®: How It Works - Unknown




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                                                                                  BAD




(Ex. E at 8.)

        35.        Webroot’s SecureAnywhere/Endpoint Protection meets the first element of claim

21 of the ’903 Patent that recites “observing, by a kernel-level security agent, events on a

computing device.” See, e.g.:

         Installing on Tenninal (RDS) Servers and Citrix XenApp
         When installed on a Tenninal server (RDS server) or Cifrix XenApp for desktop/session brokering or hosted
         shared desktops, the WSA agent protects the environment by sharing its kemel moou!e across sessions and
         provides a user process for each. Tbe Webroot Managemeaf cOfJSole displays the hosting server and each
         session as a combined single entry or devi.ce for reporting and management The WSA agent does not support
         being stre.amed \-i.a application visualization.


(Ex. D at 128.)




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         About Dwell Time
         Webroot bas tbe smallest, lightest least intn1Sive agent on the. market with nn>ltiple protection mechanisms on
         tbe agent, which provide incredible prote.c tion against the latest threats.

         Ou ot.. Webroot Intelligence Network, we. process millions of events a day to better improve tbe efficacy in the.
         solution from a detection perspective. However, as we do uot} nor can anyone. in the indusuy , catch e.ve1y pie.c e.
         of malware on the. des'ice at first sight, although Webroot does a \'et)' good job at tbi<.

         In 2014, Gartne.r Magic Quadi·ant named Webroot as the only vendor with the ability to see Dwell Time.

         Vile coutinue to introduc,e. more forensic-like c.apabilities to ensure our custorue1s b.·we as 1m1ch conte.x1, around
         malicious events as possible, without the noise associated with other eveut-based solutions.


(Ex. D at 207.)

       36.        Webroot’s SecureAnywhere/Endpoint Protection meets the second element of

claim 21 of the ’903 Patent that recites “filtering, by the kernel-level security agent, the observed

events using configurable filters.” See, e.g.:




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           WEBRCCT•

           SecureAnywhere.
               Home          Endpomt Protection


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               No Filter                             V
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                                                                   14 Nov 11th 2015, 04:56
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(Ex. D at 517.)




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           Webroot SecureAnywhere®: How It Works - Unknown




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(Ex. E at 8.)

        37.        Webroot’s SecureAnywhere/Endpoint Protection meets the third element of claim

21 of the ’903 Patent that recites “routing, by the kernel-level security agent, the filtered events to

one or more kernel-mode event consumers of the kernel-level security agent.” See, e.g.:




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           Webroot SecureAnywhere®: How It Works - Unknown




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(Ex. E at 8.)

         About Dwell Time
         Webrnot has the smallest, lightest le.ast intrusive agent on the market with multiple protection mec.ha:nisms on
         the agent, which pro\iide incredible p.-otection against the latest threats.

         On our Webroot Intelligence Netwoi-k. we process m:illiO!lS of events a day to better improve the efficacy in the
         solution from a detection perspective. However. as we do not, nor can anyone in the indu~ry, catch every piece
         of malware oo the de,iic,e at first sight, although \Vebroot does a ,,-ery goodj ob at this.

         In 2014, Gartnedvfugi.c Quadrant ruuned Webroot as the onl,), ,'eDdor with the ability to see Dwell Time.

         We continue to introduce more foi-emic-1..ike capabilities to emure our customers have as nmcb conte:-..-t around
         malicious events as p05sible. without the noise associated with other e vent-based ~lu.tions.


(Ex. D at 207.)

        38.        Webroot’s SecureAnywhere/Endpoint Protection meets the fourth element of claim

21 of the ’903 Patent that recites “taking action, by the kernel-level security agent, based at least


                                                          60
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on one of the filtered events, wherein taking the action includes communicating, by a

communications module of the kernel-level security agent, with one or more remote systems, the

communications module being implemented at the kernel-level.” See, e.g.:


           Webroot SecureAnywhere®: How It Works - Unknown




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                                        Workstation protected
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(Ex. E at 8.)


                                        Policies define the behavior of SecureAnywhere on the endpoints, s uch as when it runs a
          Policies
                                        sca n and how it blocks potential threats.




(Ex. D at 37.)




                                                                                 61
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          Realtime Shield Settings
          The Realtirne shield blocks known threats that are listed in Webroot's threat definitions and community
          database. If the shie ld de tects a suspic ious file, it opens an alert and prompts you to block or allow the item. If
          it de tects a known threat, it immediate ly blocks and quarantines the item before it causes da mage to the
          e ndpoint or steals its information.


(Ex. D at 267.)

        39.        As another example, claim 23 of the ’903 Patent recites:

        23. The computer-implemented method of claim 21, wherein the communicating
        comprises informing a remote security system of the filtered events.

        40.        Webroot’s SecureAnywhere/Endpoint Protection meets claim 23 of the ’903

Patent. See, e.g.:

           Webroot SecureAnywhere®: How It Works - Unknown




                                              UNKNOWN

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(Ex. E at 8.)



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        About Dwell T.· me
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(Ex. D at 207.)

       41.        On information and belief, Counterclaim-Defendants have directly infringed and

continue to directly infringe at least claims 21 and 23 of the ’903 Patent pursuant to 35 U.S.C. §

271(a), literally or under the doctrine of equivalents, by making, using, selling, offering to sell,

and importing into the United States Webroot’s SecureAnywhere/Endpoint Protection, on or after

the issuance date of the patent. On information and belief, Counterclaim-Defendants’ direct

infringement includes testing of Webroot’s SecureAnywhere/Endpoint Protection, at least as a part

of the product development process and regular maintenance. Further, Counterclaim-Defendants’

offer demonstrations (including tutorial videos) which show customers how to use Webroot’s

SecureAnywhere/Endpoint Protection in an infringing manner. See, e.g., Ex. F; see also, e.g.,

https://vimeo.com/379866041 (Webroot Business Endpoint Protection Demo tutorial);

https://vimeo.com/382636111 (Webroot Business Endpoint Protection Technical Certification-

Policy Management tutorial). This is another example of Counterclaim-Defendants’ direct

infringement.

       42.        Counterclaim-Defendants have been, and currently are, indirectly infringing at least

claims 21 and 23 of the ’903 Patent by inducing infringement under 35 U.S.C. § 271(b) and as

contributory infringers under 35 U.S.C. § 271(c).


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       43.     Counterclaim-Defendant OpenText knew or should have known of the ’903 Patent,

because




                                                            Counterclaim-Defendants have had actual

knowledge of the ’903 Patent since at least the filing of these Counterclaims.

       44.     Counterclaim-Defendants knowingly and intentionally encourage and aid at least

their end-user customers to directly infringe the ’903 Patent. Counterclaim-Defendants have

provided Webroot’s SecureAnywhere/Endpoint Protection to their customers and instructions to

use Webroot’s SecureAnywhere/Endpoint Protection in an infringing manner while being on

notice of its infringement thereof. See, e.g., Ex. G; Ex. H; Ex. D; Ex. I. Therefore, Counterclaim-

Defendants knew or should have known of the ’903 Patent and of their own infringing acts, or

deliberately took steps to avoid learning of those facts.

       45.     On information and belief, Counterclaim-Defendants provide Webroot’s

SecureAnywhere/Endpoint Protection, which is sold and specifically configured to infringe the

’903 Patent as described above, to end-user customers so that such customers will use Webroot’s

SecureAnywhere/Endpoint Protection in an infringing manner. See, e.g., Ex. G; Ex. H; Ex. D; Ex.

I.




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       46.     Counterclaim-Defendants actively instruct customers on how to use Webroot’s

SecureAnywhere/Endpoint Protection, including through advertising, encouraging, installing

devices for, providing support for, and/or operating Webroot’s SecureAnywhere/Endpoint

Protection for or on behalf their customers. See, e.g., Ex. E; Ex. F; see also, e.g.,

https://vimeo.com/379866041 (Webroot® Business Endpoint Protection Demo tutorial);

https://vimeo.com/382636111 (Webroot Business Endpoint Protection Technical Certification-

Policy Management tutorial).

       47.     When used as instructed, Counterclaim-Defendants’ customers use these products

to practice the methods and use the apparatus of the ’903 Patent and directly infringe at least claims

21 and 23 of the ’903 Patent. Counterclaim-Defendants induce such infringement by Webroot’s

SecureAnywhere/Endpoint Protection and instructions to enable and facilitate infringement,

knowing of the existence of the ’903 Patent. On information and belief, Counterclaim-Defendants

specifically intend that their actions will result in infringement of at least claims 21 and 23 of the

’903 Patent, or subjectively believe that their actions will result in infringement of the ’903 Patent

but took deliberate actions to avoid learning of those facts, as set forth above.

       48.     Counterclaim-Defendants contributorily infringe at least claims 21 and 23 of the

’903 Patent by providing the Webroot’s SecureAnywhere/Endpoint Protection and/or software or

hardware components thereof, that embody a material part of the claimed inventions of the ’903

Patent, that are known by Counterclaim-Defendants to be specifically made or adopted for use in

an infringing manner, and are not staple articles with substantial non-infringing uses. Webroot’s

SecureAnywhere/Endpoint Protection is specifically designed to infringe at least claims 21 and 23

of the ’903 Patent, and their accused components have no substantial non-infringing uses.




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    Case 6:22-cv-00241-ADA-DTG Document 32 Filed 05/18/22 Page 66 of 101




       49.       Counterclaim-Defendants’ infringement of the ’903 Patent has been and continues

to be willful, and Counterclaim-Defendants’ conduct renders this case exceptional under 35 U.S.C.

§ 285. As discussed above, Counterclaim-Defendants knew of or should have known of the ’903

Patent because




                                          Counterclaim-Defendants have had actual knowledge of

the ’903 Patent since at least the filing of these Counterclaims. Thereafter, as discussed above in

more detail, Counterclaim-Defendants infringed the ’903 Patent. Based on their prior knowledge,

Counterclaim-Defendants knew, or should have known, that this conduct amounted to

infringement of the ’903 Patent.

       50.       Additional allegations regarding Counterclaim-Defendants’ knowledge of the ’903

Patent and willful infringement will likely have further evidentiary support after a reasonable

opportunity for discovery.

       51.       CrowdStrike is entitled to recover from Counterclaim-Defendants all damages that

CrowdStrike has sustained as a result of Counterclaim-Defendants’ infringement of the ’903

Patent, including without limitation lost profits and no less than a reasonable royalty. An injunction

is also necessary in this case in view of Counterclaim-Defendants’ past and ongoing infringement

of one or more claims of the ’903 Patent in violation of 35 U.S.C. § 271 in this District and

elsewhere in the United States, which will otherwise result in irreparable harm to CrowdStrike.




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                                      SECOND COUNT
             (Infringement by Counterclaim-Defendants of U.S. Patent No. 9,904,784)

       52.      CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.

       53.      Counterclaim-Defendants have infringed and continue to infringe one or more

claims of the ’784 Patent in violation of 35 U.S.C. § 271 in this District and elsewhere in the United

States and will continue to do so unless enjoined by this Court. CrowdStrike will continue to suffer

irreparable harm unless this Court enjoins Counterclaim-Defendants, their agents, employees,

representatives, and all others acting in concert with Counterclaim-Defendants from infringing the

’784 Patent.

       54.      As set forth in detail below (and the corresponding Exhibits thereto), Webroot’s

SecureAnywhere/Endpoint Protection and Webroot’s Intelligence Network/BrightCloud

(collectively the “Accused Webroot Products”) infringe at least claims 1 and 2 of the ’903 Patent.

       55.      Claim 1 of the ’784 Patent recites:

       1. A computing system comprising:

                at least one memory configured to store a situational model and computer-
                executable instructions of a kernel-level security agent; and

                one or more processors that, upon executing the computer-executable
                instructions, perform operations comprising:

                observing a first event associated with one or more processes executing on
                the computing system;

                accessing, from a kernel mode of the computing system, the situational
                model;

                determining that the first event passes a first filter;

                updating the situational model based at least in part on the first event to
                provide an updated situational model;




                                                   67
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                observing a second event associated with one or more processes executing
                on the computing system;

                determining that the second event passes a second filter based at least in
                part on the updated situational model;

                determining a preventative action to take based on at least one of the
                second event and the updated situational model; and

                performing the preventative action.

       56.      To the extent the preamble is considered limiting, the Accused Webroot Products

meet the preamble of claim 1 of the ’784 Patent. See, e.g.:


         WSA Business - Endpoint Protection Admin Guide
         Overview
         Webroot SecureAnywhereT"' Endpoint Protection ecnre your enterprise from maJware and other threats by
         comb1ning Webroot' beha ior recognition te hnology ith. cloud computing. Endpoint Protection include a
         Management Portal, a] o caHed an Admin Console, which is a centraiized website u ed to view and manage
         your endpoints.

         An endpoint can be any Wind ow corporate , or: ta hon, uc h a a PC, laptop erver or virtual erver. You
         can deploy SecureAnywhere oftwa:re to these endpoints withi.n econds, protecting users immediate]y. Once
         Se llieAnywh re runs a scan on. the endpoints , it reports rhe ir tatus into the Management Portal.


(Ex. D at 2.)




                                                    68
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                                                         WEBROOT
                                                         BrightCloud' llli/201 ime/1,gence PLATFORM -
                                                                                                                                a   sumcu
                                                                                                                                    C.!IKl!1t nnM IM11!1..ice




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                                                   ,{- M'l'IX.•       x,..w.u ,.,u..,. Cl.':'.::2' SOTr         tx.lll-   GIT

                                                                    Pll'tner End I.hen Protectfd   = M11!1>ns



                 The Webroot BrightCloud• Threat Intelligence Platform- the most powerful rea~time threat analysis engine in the world




(Ex. G at 3.)

       57.      The Accused Webroot Products meet the first element of claim 1 of the ’784 Patent

that recites “at least one memory configured to store a situational model and computer-executable

instructions of a kernel-level security agent.” See, e.g.:




                                                                 69
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           Webroot SecureAnywhere®: How It Works - Unknown




                                  UNKNOWN

                                                                                             Has WIN seen
                                                                                           t his file b efore?


                               Workstat io n p rot e cted
                                                                                                                                      Webroot




                                    ----
             New F ie              by Webroot                                                    No
                                                                                                                              lntolligence Network
                                                                                              UNKNOWN

                                                                                                                  ( n<Mn J.    ~               Ott..-          I.AO
                                                                                                                 Hasl'IDM~     DIU!btie   Ttww.O.tatiaws lt.mhO;,tab,,w,
                                                                                           Has W IN seen
                                                                                      t his behavior before?      1:1111       1:1111       1:1111          1:1111
                                                                                                                  1:1111       1:1111       1:1111          1:1111
                                                                                                                  1:1111       1:1111       1:1111          1:1111
                                                                                                  Yes !
                                                                                                  BAD




(Ex. E at 8.)

         Infra.red
         Infrared is a multi-layer defense incorporating several aspects of
         BrightGloud Threat Intelligence to help thwart threats early on in their
         lifecycle- often before a threat researcher sees a singje sample. It looks
         at the reputation of the websites an individual visits and uses BrightCfoud
         Threat Intelligence to determine their risk level. If the user commonly visits
         low-reputation websites, then the endpoint goes intoa state of heightened
         awareness and closely interrogates any new files or processes tnat are
         introdoced into their system. Infrared also interprets user behaviors and
         the overaDsafety level of the user. So, if a user is classified as "high riskw,
         Webroot then dynamically tunes malware prevention to that user. while
         preventing false positives for less risky users.

(Ex. G at 4.)




                                                                 70
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                                                    Reduces RAM usage in the background by using less memory
                                                    during scans, but scans w ill a !so run a bit s lower.
          Favor low memory usage over fast
          scanning                                   Deselect this option to run faster scans and use more memo,y.

                                                    This setting a[Pplies only to PC endpoints.



(Ex. D at 259.)

         Installing on Terminal (RDS) Servers and Citrix XenApp
         When installed on a Terminal server (RDS server) or Citri.x Xen.J\pp for desktop/session brokering or hosted
         shared desktops, the WSA agent protects the environment by sharing its kernel module across sessions and
         pmvides a user process for each. The Webroot :Management console displays the hosting server and each
         session as a combwed s:ingle ent,y or de,;ice for 1·eporting and management. The \VSA agent does not support
         being sm.>.a.i n-d \.13 application visua.lization.


(Ex. D at 128.)

       58.        The Accused Webroot Products meet the second element of claim 1 of the ’784

Patent that recites “one or more processors that, upon executing the computer-executable

instructions, perform operations comprising.” See, e.g.:




                                                        71
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           Webroot SecureAnywhere®: How It Works - Unknown




                             UNKNOWN

                                                                                   Has WIN seen
                                                                                 t his file before?


                           Workstation protected
                                                                                                                            Webroot




                               ----
              New F ie         byWebroot                                              No
                                                                                                                    lntolligence Network
                                                                                   UNKNOWN

                                                                                                        ( n<Mn J.    ~               Ott..-          I.AO
                                                                                                       Hasl'IDM~     DIU!btie   Ttww.O.tatiaws lt.mhO;,tab,,w,
                                                                                   Has W IN seen
                                                                              t his behavior before?    1:1111       1:1111       1:1111          1:1111
                                                                                                        1:1111       1:1111       1:1111          1:1111
                                                                                                        1:1111       1:1111       1:1111          1:1111
                                                                                       Yes !
                                                                                       BAD




(Ex. E at 8.)


          System Pack                              The number of the service pack for the operating system.



          System Type                              Either 32-bit or 64-bit.



(Ex. D at 49.)

        59.        The Accused Webroot Products meet the third element of claim 1 of the ’784 Patent

that recites “observing a first event associated with one or more processes executing on the

computing system.” See, e.g.:




                                                          72
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             First Seen                            The date and time when this event was first detected.



             Last Seen                             The date and time when this event was last detected.



(Ex. D at 408.)

        60.       The Accused Webroot Products meet the fourth element of claim 1 of the ’784

Patent that recites “accessing, from a kernel mode of the computing system, the situational model.”

See, e.g.:

         Infrared
         Infrared is a multi-layer defense ilcorporating several aspects of
         BrightCloud Threat Intelligence to help thwart threats early on intheir
         lifecycle -ofl2n before a threat researcher sees a sintle sample. It looks
         at the reputation of the websites an ondividual visits and uses BrightCloud
         Threat Intelligence to determile their rist level. If the user commonlyvisits
         low-reputation websites, then the endpoint goes into a state of heig!ltened
         awareness and closely interrogates any new files or processes that are
         introduced ilto thetr system. lnfrilll!d also interprets user behaviors and
         the overal safety lewl of the uset So, d a user is classdied as "high risk •
         Webroot then dynamicallytunes malware prevention to that user, while
         preventing false positives for less risky users.

(Ex. G at 4.)

         Installing on Tern1inal (RDS) Servers and Citrix XenApp
         When installed on a Tenninal sen-er (RDS sen-er) or Citrix Xen.J\f,) for deslctoplsession lrol:ering or bostl!d
         shared deslctops, the WSA agent protects the emiroometll by sharing ils kernel module across sessions and
         provides a user process for each. Toe Webroot Management console displays the hosting server aud each
         session as a combined single entry or de, lce for reporting aud management. The \VSA agent does oot support
         being streamed ,la application ,isua!izatiou.


(Ex. D at 128.)

        61.       The Accused Webroot Products meet the fifth element of claim 1 of the ’784 Patent

that recites “determining that the first event passes a first filter.” See, e.g.:



                                                                73
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           Webroot SecureAnywhere®: How It Works - Unknown




                                            UNKNOWN

                                                                                                     Has WIN seen
                                                                                                    this file before?


                                        Workstation protected
                                                                                                                                                 Webroot




                                                ----
             New F ie                       byWebroot                                                      No
                                                                                                                                         lntolligen,:• Network
                                                                                                      UNKNOWN

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                                                                                                    Has W IN seen
                                                                                                 this behavior befor e?


                                                                                                          Yes !
                                                                                                          BAD




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(Ex. E at 8.)

         Infrared
         Infrared is a multi-layer defense incorporating several aspects of
         BrightGloud Threat Intelligence to help thwart threats early on in their
         fifecycle - often before a threat researcher sees a single sample. It looks
         at the reputation of the websites an individual visits and uses BrightGfoud
         Threat Intelligence to determine their risk level. If the user commonly visits
         low-reputation websites, then the endpoint goes into a state of heightened
         awareness and closely interrogates any new files or processes th.at are
         introd1JCed into their system. Infrared also interprets user behaviors and
         the overaff safety level of the user. So. if a user is classified as "high risk•,
         Webroot then dynamica[ly tunes malware prevention to that user, while
         prevooting false positives for less risky users.


(Ex. G at 4.)




                                                                                    74
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               EBROOT•
             SecureAnywhere_
               Home

              St!ilUs     POiities   Group Management     Reports      CM!rrloe$     Alerts   Set.lrlgs   Logs   Resoines

              Change Log         Command Log ( oati Fir.e< Log] )

             'f Filter Change log
             Between                                            oaie
                                                           1    Nov 11111 ::015 13·30
                                                           2    NO'V 111h 2015 13·27
                                                           3    NOY 111h 2015 12:35
                                                           4    NOY 111ti 2015, 12.34
             Event Type                                    0    NOii llttl :01S 11.11
              No FiHer                            V
                                                           0    Nov 111n :01s 10 48

             lnvollnng User                                7    Nov 111n:015 1037
                             ------
              No FiHer                            V        8    N011 11ttl 2015. 10·35

                                                           11   NOY 111h 2015. 10:24
             Involving Gr~:
                              ------
                                                          10 Nov 11th 2015. 10:16
              No Filler                           V
                                                          11    Nov 11th 201S 0821
             Involving Pol~y·
                                                          12 Nov l1th201S 0813
              No FiHer                            V
                                                          13    NO'V 11th2015 08:10

                                                                Nov 111h 2015. 04:56
                                Submit   J

(Ex. D at 517.)



                                Policies define the behavior of SecureAnywhere on the endpoints, such as when it runs a
          Policies
                                scan and how it blocks potential threats.



(Ex. D at 37.)

       62.        The Accused Webroot Products meet the sixth element of claim 1 of the ’784 Patent

that recites “updating the situational model based at least in part on the first event to provide an

updated situational model.” See, e.g.:



                                                          75
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           Webroot SecureAnywhere®: How It Works - Unknown




                                  UNKNOWN

                                                                                             Has WIN seen
                                                                                           t his file b efore?


                               Workstat io n p rot e cted
                                                                                                                                      Webroot




                                    ----
             New F ie              by Webroot                                                    No
                                                                                                                              lntolligence Network
                                                                                              UNKNOWN

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                                                                                      t his behavior before?      1:1111       1:1111       1:1111          1:1111
                                                                                                                  1:1111       1:1111       1:1111          1:1111
                                                                                                                  1:1111       1:1111       1:1111          1:1111
                                                                                                  Yes !
                                                                                                  BAD




(Ex. E at 8.)

         Infra.red
         Infrared is a multi-layer defense incorporating several aspects of
         BrightGloud Threat Intelligence to help thwart threats early on in their
         lifecycle- often before a threat researcher sees a singje sample. It looks
         at the reputation of the websites an individual visits and uses BrightCfoud
         Threat Intelligence to determine their risk level. If the user commonly visits
         low-reputation websites, then the endpoint goes intoa state of heightened
         awareness and closely interrogates any new files or processes tnat are
         introdoced into their system. Infrared also interprets user behaviors and
         the overaDsafety level of the user. So, if a user is classified as "high riskw,
         Webroot then dynamically tunes malware prevention to that user. while
         preventing false positives for less risky users.

(Ex. G at 4.)




                                                                 76
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                                                         WEBROOT
                                                         BrightCloud' llli/201 ime/1,gence PLATFORM -
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                                                                    Pll'tner End I.hen Protectfd   = M11!1>ns



                 The Webroot BrightCloud• Threat Intelligence Platform- the most powerful rea~time threat analysis engine in the world



(Ex. G at 3.)

       63.      The Accused Webroot Products meet the seventh element of claim 1 of the ’784

Patent that recites “observing a second event associated with one or more processes executing on

the computing system.” See, e.g.:




                                                                 77
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           Webroot SecureAnywhere®: How It Works - Unknown




                                  UNKNOWN

                                                                                             Has WIN seen
                                                                                           t his file b efore?


                               Workstat io n p rot e cted
                                                                                                                                      Webroot




                                    ----
             New F ie              by Webroot                                                    No
                                                                                                                              lntolligence Network
                                                                                              UNKNOWN

                                                                                                                  ( n<Mn J.    ~               Ott..-          I.AO
                                                                                                                 Hasl'IDM~     DIU!btie   Ttww.O.tatiaws lt.mhO;,tab,,w,
                                                                                           Has W IN seen
                                                                                      t his behavior before?      1:1111       1:1111       1:1111          1:1111
                                                                                                                  1:1111       1:1111       1:1111          1:1111
                                                                                                                  1:1111       1:1111       1:1111          1:1111
                                                                                                  Yes !
                                                                                                  BAD




(Ex. E at 8.)

         Infra.red
         Infrared is a multi-layer defense incorporating several aspects of
         BrightGloud Threat Intelligence to help thwart threats early on in their
         lifecycle- often before a threat researcher sees a singje sample. It looks
         at the reputation of the websites an individual visits and uses BrightCfoud
         Threat Intelligence to determine their risk level. If the user commonly visits
         low-reputation websites, then the endpoint goes intoa state of heightened
         awareness and closely interrogates any new files or processes tnat are
         introdoced into their system. Infrared also interprets user behaviors and
         the overaDsafety level of the user. So, if a user is classified as "high riskw,
         Webroot then dynamically tunes malware prevention to that user. while
         preventing false positives for less risky users.

(Ex. G at 4.)




                                                                 78
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          F irst Seen                                        The date and time when this event was first detected.



          Last Seen                                          The date and time when this event was last detected.



(Ex. D at 408.)

        64.        The Accused Webroot Products meet the eighth element of claim 1 of the ’784

Patent that recites “determining that the second event passes a second filter based at least in part

on the updated situational model.” See, e.g.:

           Webroot SecureAnywhere®: How It Works - Unknown




                                        UNKNOWN

                                                                                                Has W IN seen
                                                                                               this file before?


                                    Workst ation protected
                                                                                                                                         Wellroot




                                         ----
              New F le                  byWebroot                                                    No
                                                                                                                                 Intelligence Network
                                                                                                  UNKNOWN

                                                                                                                      c-n ~       9'hMor,;       Cltnr            ~
                                                                                                                     H,st,D!t~    Oit.»a~    T~ . i O f ~ lf.t.,t,Dl,tab.tse
                                                                                                 Has W IN seen
                                                                                             this behavior before?    1:1111      1:1111        1:1111         1:1111
                                                                                                                      1:1111      1:1111        1:1111         1:1111
                                                                                                                      1:1111      1:1111        1:1111         1:1111
                                                                                                     Yes !
                                                                                                     BAD




                   •·    t" " · I   I                    I   f t   •;   I   f   f•   •   t




(Ex. E at 8.)




                                                                                79
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         Infrared
         Infrared is a multi-layer defense incorporating several aspects of
         BrightCloud Threat Intelligence to help thwart threats early on in their
         lifecycle- often before a threat researcher sees a single sample. It looks
         at the reputation of the websites an individual visits and uses BrightGloud
         Threat Intelligence to determine their risk level. If the user commonly visits
         low-reputation websites, then the endpoint goes into a state of heigntened
         awareness and closely interrogates any new files or processes that are
         introduced into their system. Infrared also interprets user behaviors and
         the overaN safety level of theuser. So, if a user isclassified as "high risk",
         Webroot then dynamically tunes malware prevention to that user, while
         preventing false positives for less risky users.


(Ex. G at 4.)


             WEBRCCT•

            SecureAnywhere.
                Home          Endpomt Protection


              Starus        Polcies   Group Management              Reports     OVerrides    Alerts   Semngs   Logs   Resources


              Change l og      Ir C<lmmand   Log   (o•ta       Filter log] )

            f     Filter Change Log                        «      ..J Change Log
             Between.                                                    Oete
                                                                     1 Nov 11th2015. 13:30
                                                                     2   Nov 11th 2015. 13:27
             And
                                                                     3   Nov 11th 2015. 12:35
                                                                     4 Nov 11th 2015, 12:34
             Event Type:                                             5   Nov 11th2015, 11 .23
                No Fitter                              V
                                                                     5   Nov 11 th 2015. 10:<8
             Involving User                                          7   Nov 11th 2015. 10:37
                No Fitter                              V             8   Nov 11th 2015. 10:35
                                                                     9   Nov 11th 2015. 10:24
             lnvoMl'l9 Group:
                                                                    ,o   Nov 11th 2015, 10:16
                No Fitter                              V
                                                                    ,,   Nov 11 th 2015, 08:21
             Inv<>Mng Policy:
                                                                    12   Nov 11th 2015. 08:13
                No Filter                             V
                                                                    13   Nov 11th 2015. 08:10
                                                                    14 Nov 11th 2015. 04:56
                                 Submit
                                                                     '


                                                                    80
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(Ex. D at 517.)

        65.        The Accused Webroot Products meet the ninth element of claim 1 of the ’784 Patent

that recites “determining a preventative action to take based on at least one of the second event

and the updated situational model.” See, e.g.:


           Webroot SecureAnywhere®: How It Works - Unknown




                                       UNKNOWN

                                                                                                       Has WIN seen
                                                                                                      this file before?


                                   Workstation protected
                                                                                                                                               Webroot




                                       ----
              New Fie                  byWebroot                                                            No
                                                                                                         UNKNOWN                          lntolli~• Network

                                                                                                                             (IIOloln ~    IWIMon;      Ottwr        ~
                                                                                                                            Hi5"'DM~       Di~       ThfmOf~ lfwll>l,tabllse
                                                                                                       Has W IN seen
                                                                                                    this behavior before?
                                                                                                                             1:1111        1:1111      1:1111     1:1111
                                                                                                                             1:1111        1:1111      1:1111     1:1111
                                                                                                                             1:1111        1:1111      1:1111     1:1111
                                                                                                            Yes !
                                                                                                            BAD




                  ♦•    t• " · I   I                  J   Propneta,y and Confidential lnfoonation




(Ex. E at 8.)




                                                                             81
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         Infrared
         Infrared is a multi-fayer defense inr.orporating several aspects of
         BrightGloud Threat lntelligenGB to help thwart threats early on in their
         lifecycle- often l>efore a threat researcher sees a single sample. It looks
         at the reputation of the websites an individual visits and uses BrightGloud
         Threat Intelligence to determine their risk level. If the user commonly visits
         low-reputation websites, !hen the endpoint goes into a state of heightened
         awareness and closely interrogates any new files or processes that are
         introduced into their system. Infrared also interprets user behaviors and
         the overal safety level of the user. So, if a user is classified as •high risk",
         Webroot then dynamically tunes malware prevention tothat user, while
         preventing false positives for less risky users.


(Ex. G at 4.)


                               Policies define the behavior of SecureAnywhere on the endpoints, such as when it runs a
          Polic ies
                               scan and how it blocks potential threats.



(Ex. D at 37.)

        Implementing Policies
        When you frrst configured Endpoint Protection, you selected one of its default policies. A policy defines the
        SecureAnywhere settings on endpoints, suc h as the scan schedu le and shielding behavior.

        You can continue to use your selected default policy or you can define more policies and assign the m to
        endpoints. For example, you might want to give system administrators more control than you would other
        employees. In that case, you could create a new policy for administrators and keep everyone else on the default
        policy.

(Ex. D at 215.)

          Realtime Shield Settings
         The Realtime shield blocks know n threats that are listed in Webroot's threat de finitions and community
         da tabase. ff the shie ld detects a suspicious file, it opens an a le rt and prompts you to block or a llow the item. If
         it detects a known threat, it immediately blocks a nd quarantine s the item before it causes dama ge to the
         e ndpoint or steals its information.


(Ex. D at 267.)




                                                                  82
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       66.        The Accused Webroot Products meet the tenth element of claim 1 of the ’784 Patent

that recites “performing the preventative action.” See, e.g.:


                           Policies defi ne the behavior of SecureAnywhere on the endpoints, such as when it runs a
          Polkics
                           scan and how it blocks pote ntial threats.



(Ex. D at 37.)

        Implementing Policies
        When you first configured Endpoint Protection, you selected one of its default policies. A policy defines the
        SecureAnywhere settings on endpoints, such as the scan schedule and shielding behavior.

        You can continue to use your selected de fault policy or you can define more policies and assign them to
        endpoints. For example, you might wa nt to give system administrators more control tha n you would other
        employees. lo l11at case, you could create a new policy for administrators and keep everyone else on ilie default
        policy.

(Ex. D at 215.)

          Realtime Shield Settings
         The Rea ltime shield blocks known threats that are listed in Webroot's threat definitions and community
         database. If the shield detects a suspicious file, it opens an a lert and prompts you to block or allow the item. If
         it detects a known threat, it immediately blocks and quarantines the item before it ca uses da mage to the
         endpoint or steals its information.


(Ex. D at 267.)

       67.        As another example, claim 2 of the ’784 Patent recites:

       2. The computing system of claim 1, the operations further comprising tracking
       attributes or behaviors of one or more objects or processes of the computing
       system in the situational model.

       68.        The Accused Webroot Products meet claim 2 of the ’784 Patent. See, e.g.:




                                                        83
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           Webroot SecureAnywhere®: How It Works - Unknown




                                  UNKNOWN

                                                                                             Has WIN seen
                                                                                           t his file b efore?


                               Workstat io n p rot e cted
                                                                                                                                      Webroot




                                    ----
              New F ie             by Webroot                                                    No
                                                                                                                              lntolligence Network
                                                                                              UNKNOWN

                                                                                                                  ( n<Mn J.    ~               Ott..-          I.AO
                                                                                                                 Hasl'IDM~     DIU!btie   Ttww.O.tatiaws lt.mhO;,tab,,w,
                                                                                           Has W IN seen
                                                                                      t his behavior before?      1:1111       1:1111       1:1111          1:1111
                                                                                                                  1:1111       1:1111       1:1111          1:1111
                                                                                                                  1:1111       1:1111       1:1111          1:1111
                                                                                                  Yes !
                                                                                                  BAD




(Ex. E at 8.)

         Infra.red
         Infrared is a multi-layer defense incorporating several aspects of
         BrightGloud Threat Intelligence to help thwart threats early on in their
         lifecycle- often before a threat researcher sees a singje sample. It looks
         at the reputation of the websites an individual visits and uses BrightCfoud
         Threat Intelligence to determine their risk level. If the user commonly visits
         low-reputation websites, then the endpoint goes intoa state of heightened
         awareness and closely interrogates any new files or processes tnat are
         introdoced into their system. Infrared also interprets user behaviors and
         the overaDsafety level of the user. So, if a user is classified as "high riskw,
         Webroot then dynamically tunes malware prevention to that user. while
         preventing false positives for less risky users.

(Ex. G at 4.)

        69.        On information and belief, Counterclaim-Defendants have directly infringed and

continue to directly infringe at least claims 1 and 2 of the ’784 Patent pursuant to 35 U.S.C. §


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271(a), literally or under the doctrine of equivalents, by making, using, selling, offering to sell,

and importing into the United States the Accused Webroot Products, on or after the issuance date

of the patent. On information and belief, Counterclaim-Defendants’ direct infringement includes

testing of the Accused Webroot Products, at least as a part of the product development process and

regular maintenance. Further, Counterclaim-Defendants have offered demonstrations (including

tutorial videos) that show customers how to use the Accused Webroot Products in an infringing

manner. See, e.g., Ex. F; see also, e.g., https://vimeo.com/379866041 (Webroot® Business

Endpoint Protection Demo tutorial); https://vimeo.com/382636111 (Webroot Business Endpoint

Protection       Technical         Certification-       Policy        Management           tutorial);

https://vimeo.com/623694857?utm_campaign=5250933&utm_source=affiliate&utm_channel=af

filiate&cjevent=b0014a96d07211ec806503830a82b821&clickid=b0014a96d07211ec806503830

a82b821 (BrightCloud Cloud Service Intelligence Demo tutorial). This is another example of

Counterclaim-Defendants’ direct infringement.

       70.     Counterclaim-Defendants have been, and currently are, indirectly infringing at least

claims 1 and 2 of the ’784 Patent by inducing infringement under 35 U.S.C. § 271(b) and as

contributory infringers under 35 U.S.C. § 271(c).

       71.     Counterclaim-Defendant OpenText knew or should have known of the ’784 Patent,

because




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                                                        Counterclaim-Defendants have had actual

knowledge of the ’784 Patent since at least the filing of these Counterclaims.

       72.     Counterclaim-Defendants knowingly and intentionally encourage and aid at least

their end-user customers to directly infringe the ’784 Patent. Counterclaim-Defendants have

provided the Accused Webroot Products to their customers and instructions to use the Accused

Webroot Products in an infringing manner while being on notice of its infringement thereof. See,

e.g., Ex. G; Ex. J; Ex. H; Ex. D; Ex. I. Therefore, Counterclaim-Defendants knew or should have

known of the ’784 Patent and of their own infringing acts, or deliberately took steps to avoid

learning of those facts.

       73.     On information and belief, Counterclaim-Defendants provide the Accused Webroot

Products, which are sold and specifically configured to infringe the ’784 Patent as described above,

to end-user customers so that such customers will use the Accused Webroot Products in an

infringing manner. See, e.g., Ex. G; Ex. J; Ex. H; Ex. D; Ex. I.

       74.     Counterclaim-Defendants actively instruct customers on how to use the Accused

Webroot Products, including through advertising, encouraging, installing devices for, providing

support for, and/or operating the Accused Webroot Products for or on behalf their customers. See,

e.g., Ex. E; Ex. F; Ex. J; see also, e.g., https://vimeo.com/379866041 (Webroot Business Endpoint

Protection Demo tutorial); https://vimeo.com/382636111 (Webroot Business Endpoint Protection

Technical             Certification-           Policy              Management              tutorial);

https://vimeo.com/623694857?utm campaign=5250933&utm source=affiliate&utm channel=af

filiate&cjevent=b0014a96d07211ec806503830a82b821&clickid=b0014a96d07211ec806503830

a82b821 (BrightCloud Cloud Service Intelligence Demo tutorial).




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       75.       When used as instructed, Counterclaim-Defendants’ customers use these products

to use the apparatus of the ’784 Patent and directly infringe at least claims 1 and 2 of the ’784

Patent. Counterclaim-Defendants induce such infringement by providing the Accused Webroot

Products and instructions to enable and facilitate infringement, knowing of the existence of the

’784 Patent. On information and belief, Counterclaim-Defendants specifically intend that their

actions will result in infringement of at least claims 1 and 2 of the ’784 Patent, or subjectively

believe that their actions will result in infringement of the ’784 Patent but took deliberate actions

to avoid learning of those facts, as set forth above.

       76.       Counterclaim-Defendants contributorily infringe at least claims 1 and 2 of the ’784

Patent by providing the Accused Webroot Products and/or software or hardware components

thereof, that embody a material part of the claimed inventions of the ’784 Patent, that are known

by Counterclaim-Defendants to be specifically made or adopted for use in an infringing manner,

and are not staple articles with substantial non-infringing uses. The Accused Webroot Products are

specifically designed to infringe at least claims 1 and 2 of the ’784 Patent, and their accused

components have no substantial non-infringing uses.

       77.       Counterclaim-Defendants’ infringement of the ’784 Patent has been and continues

to be willful, and Counterclaim-Defendants’ conduct renders this case exceptional under 35 U.S.C.

§ 285. As discussed above, Counterclaim-Defendants knew of or should have known of the ’784

Patent because




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                                          Counterclaim-Defendants have had actual knowledge of

the ’784 Patent since at least the filing of these Counterclaims. Thereafter, as discussed above in

more detail, Counterclaim-Defendants infringed the ’784 Patent. Based on their prior knowledge,

Counterclaim-Defendants knew, or should have known, that this conduct amounted to

infringement of the ’784 Patent.

       78.     Additional allegations regarding Counterclaim-Defendants’ knowledge of the ’784

Patent and willful infringement will likely have further evidentiary support after a reasonable

opportunity for discovery.

       79.     CrowdStrike is entitled to recover from Counterclaim-Defendants all damages that

CrowdStrike has sustained as a result of Counterclaim-Defendants’ infringement of the ’784

Patent, including without limitation lost profits and no less than a reasonable royalty. An injunction

is also necessary in this case in view of Counterclaim-Defendants’ past and ongoing infringement

of one or more claims of the ’784 Patent in violation of 35 U.S.C. § 271 in this District and

elsewhere in the United States, which will otherwise result in irreparable harm to CrowdStrike.

                                       THIRD COUNT
                 (Declaration of Non-Infringement of U.S. Patent No. 8,418,250)

       80.     CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.

       81.     Counterclaim-Defendants’ Complaint alleges that CrowdStrike infringes at least

claim 1 of the ’250 Patent even though CrowdStrike has not infringed, contributed to the

infringement, or induced the infringement of claim 1 or any other claim of the ’250 Patent.

CrowdStrike denies these claims of infringement and believes that the Complaint has been filed

without good cause for believing the allegations to be true. In particular, Counterclaim-



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Defendants’ Complaint fails to articulate a sufficient basis for alleging that CrowdStrike infringes,

at least because under any reasonable interpretation of the claims, CrowdStrike’s accused products

do not use a “base computer” and likewise do not “run[] said object on at least one of the remote

computers.”

       82.     An actual, continuing and justiciable controversy exists between CrowdStrike and

Counterclaim-Defendants as to CrowdStrike’s non-infringement of all claims of then ’250 Patent

as evidenced by Counterclaim-Defendants’ Complaint and CrowdStrike’s Answer, as filed on

March 4, 2022. Absent a declaration of non-infringement, Counterclaim-Defendants will continue

to wrongfully assert the ’250 Patent against CrowdStrike and will continue to cause CrowdStrike

injury and damage.

       83.     Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

CrowdStrike requests a judicial determination and declaration that CrowdStrike does not and has

not infringed, contributed to the infringement of, or induced infringement of any claim of the ’250

Patent either literally or under the doctrine of equivalents, willfully, or in any other manner.

                                      FOURTH COUNT
                 (Declaration of Non-Infringement of U.S. Patent No. 8,726,389)

       84.     CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.

       85.     Counterclaim-Defendants’ Complaint alleges that CrowdStrike infringes at least

claim 1 of the ’389 Patent even though CrowdStrike has not infringed, contributed to the

infringement, or induced the infringement of claim 1 or any other claim of the ’389 Patent.

CrowdStrike denies these claims of infringement and believes that the Complaint has been filed

without good cause for believing the allegations to be true. In particular, Counterclaim-

Defendants’ Complaint fails to articulate a sufficient basis for alleging that CrowdStrike infringes,



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at least because under any reasonable interpretation of the claims, CrowdStrike’s accused products

do not use a “base computer.”

       86.     An actual, continuing and justiciable controversy exists between CrowdStrike and

Counterclaim-Defendants as to CrowdStrike’s non-infringement of all claims of then ’389 Patent

as evidenced by Counterclaim-Defendants’ Complaint and CrowdStrike’s Answer, as filed on

March 4, 2022. Absent a declaration of non-infringement, Counterclaim-Defendants will continue

to wrongfully assert the ’389 Patent against CrowdStrike, and will continue to cause CrowdStrike

injury and damage.

       87.     Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

CrowdStrike requests a judicial determination and declaration that CrowdStrike does not and has

not infringed, contributed to the infringement of, or induced infringement of any claim of the ’389

Patent either literally or under the doctrine of equivalents, willfully, or in any other manner.

                                        FIFTH COUNT
                 (Declaration of Non-Infringement of U.S. Patent No. 9,578,045)

       88.     CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.

       89.     Counterclaim-Defendants’ Complaint alleges that CrowdStrike infringes at least

claim 1 of the ’045 Patent even though CrowdStrike has not infringed, contributed to the

infringement, or induced the infringement of claim 1 or any other claim of the ’045 Patent.

CrowdStrike denies these claims of infringement and believes that the Complaint has been filed

without good cause for believing the allegations to be true. In particular, Counterclaim-

Defendants’ Complaint fails to articulate a sufficient basis for alleging that CrowdStrike infringes,

at least because under any reasonable interpretation of the claims, CrowdStrike’s accused products

do not “assembl[e] an event line.”



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       90.     An actual, continuing and justiciable controversy exists between CrowdStrike and

Counterclaim-Defendants as to CrowdStrike’s non-infringement of all claims of then ’045 Patent

as evidenced by Counterclaim-Defendants’ Complaint and CrowdStrike’s Answer, as filed on

March 4, 2022. Absent a declaration of non-infringement, Counterclaim-Defendants will continue

to wrongfully assert the ’045 Patent against CrowdStrike, and will continue to cause CrowdStrike

injury and damage.

       91.     Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

CrowdStrike requests a judicial determination and declaration that CrowdStrike does not and has

not infringed, contributed to the infringement of, or induced infringement of any claim of the ’045

Patent either literally or under the doctrine of equivalents, willfully, or in any other manner.

                                       SIXTH COUNT
                (Declaration of Non-Infringement of U.S. Patent No. 10,257,224)

       92.     CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.

       93.     Counterclaim-Defendants’ Complaint alleges that CrowdStrike infringes at least

claim 1 of the ’224 Patent even though CrowdStrike has not infringed, contributed to the

infringement, or induced the infringement of claim 1 or any other claim of the ’224 Patent.

CrowdStrike denies these claims of infringement and believes that the Complaint has been filed

without good cause for believing the allegations to be true. In particular, Counterclaim-

Defendants’ Complaint fails to articulate a sufficient basis for alleging that CrowdStrike infringes,

at least because under any reasonable interpretation of the claims, CrowdStrike’s accused products

do not “generat[e] an event line.”

       94.     An actual, continuing and justiciable controversy exists between CrowdStrike and

Counterclaim-Defendants as to CrowdStrike’s non-infringement of all claims of then ’224 Patent



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as evidenced by Counterclaim-Defendants’ Complaint and CrowdStrike’s Answer, as filed on

March 4, 2022. Absent a declaration of non-infringement, Counterclaim-Defendants will continue

to wrongfully assert the ’224 Patent against CrowdStrike, and will continue to cause CrowdStrike

injury and damage.

       95.     Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

CrowdStrike requests a judicial determination and declaration that CrowdStrike does not and has

not infringed, contributed to the infringement of, or induced infringement of any claim of the ’224

Patent either literally or under the doctrine of equivalents, willfully, or in any other manner.

                                     SEVENTH COUNT
                (Declaration of Non-Infringement of U.S. Patent No. 10,284,591)

       96.     CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.

       97.     Counterclaim-Defendants’ Complaint alleges that CrowdStrike infringes at least

claim 1 of the ’591 Patent even though CrowdStrike has not infringed, contributed to the

infringement, or induced the infringement of claim 1 or any other claim of the ’591 Patent.

CrowdStrike denies these claims of infringement and believes that the Complaint has been filed

without good cause for believing the allegations to be true. In particular, Counterclaim-

Defendants’ Complaint fails to articulate a sufficient basis for alleging that CrowdStrike infringes,

at least because under any reasonable interpretation of the claims, CrowdStrike’s accused products

do not “execut[e] stack walk processing.”

       98.     An actual, continuing and justiciable controversy exists between CrowdStrike and

Counterclaim-Defendants as to CrowdStrike’s non-infringement of all claims of then ’591 Patent

as evidenced by Counterclaim-Defendants’ Complaint and CrowdStrike’s Answer, as filed on

March 4, 2022. Absent a declaration of non-infringement, Counterclaim-Defendants will continue



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to wrongfully assert the ’591 Patent against CrowdStrike, and will continue to cause CrowdStrike

injury and damage.

       99.     Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

CrowdStrike requests a judicial determination and declaration that CrowdStrike does not and has

not infringed, contributed to the infringement of, or induced infringement of any claim of the ’591

Patent either literally or under the doctrine of equivalents, willfully, or in any other manner.

                                      EIGHTH COUNT
                (Declaration of Non-Infringement of U.S. Patent No. 10,859,844)

       100.    CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.

       101.    Counterclaim-Defendants’ Complaint alleges that CrowdStrike infringes at least

claim 1 of the ’844 Patent even though CrowdStrike has not infringed, contributed to the

infringement, or induced the infringement of claim 1 or any other claim of the ’844 Patent.

CrowdStrike denies these claims of infringement and believes that the Complaint has been filed

without good cause for believing the allegations to be true. In particular, Counterclaim-

Defendants’ Complaint fails to articulate a sufficient basis for alleging that CrowdStrike infringes,

at least because under any reasonable interpretation of the claims, CrowdStrike’s accused products

do not use “support vector processing.”

       102.    An actual, continuing and justiciable controversy exists between CrowdStrike and

Counterclaim-Defendants as to CrowdStrike’s non-infringement of all claims of then ’844 Patent

as evidenced by Counterclaim-Defendants’ Complaint and CrowdStrike’s Answer, as filed on

March 4, 2022. Absent a declaration of non-infringement, Counterclaim-Defendants will continue

to wrongfully assert the ’844 Patent against CrowdStrike, and will continue to cause CrowdStrike

injury and damage.



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       103.    Under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

CrowdStrike requests a judicial determination and declaration that CrowdStrike does not and has

not infringed, contributed to the infringement of, or induced infringement of any claim of the ’844

Patent either literally or under the doctrine of equivalents, willfully, or in any other manner.

                                         NINTH COUNT
                      (Declaration of Invalidity of U.S. Patent No. 8,418,250)

       104.    CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.

       105.    Due to Counterclaim-Defendants’ filing of the Complaint, an actual controversy

exists between CrowdStrike and Counterclaim-Defendants as to the validity of the ’250 Patent.

       106.    The claims of the ’250 Patent are invalid, in whole or in part, for failure to meet

one or more requirements of Title 35 of the United States Code, including but not limited to §§

101, 102, 103 and/or 112.

       107.    By way of example, the asserted claims of the ’250 Patent are invalid based on, for

instance, one or more of United States Patent No. 7,900,194 and the prior art references listed on

the face of the patents.

       108.    Under the Federal Declaratory Judgment Act, 28, U.S.C. § 2202 et seq.,

CrowdStrike requests a judicial determination and declaration that the claims of the ’250 Patent

are invalid.

                                         TENTH COUNT
                      (Declaration of Invalidity of U.S. Patent No. 8,726,389)

       109.    CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.




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       110.    Due to Counterclaim-Defendants’ filing of the Complaint, an actual controversy

exists between CrowdStrike and Counterclaim-Defendants as to the validity of the ’389 Patent.

       111.    The claims of the ’389 Patent are invalid, in whole or in part, for failure to meet

one or more requirements of Title 35 of the United States Code, including but not limited to §§

101, 102, 103 and/or 112.

       112.    By way of example, the asserted claims of the ’389 Patent are invalid based on, for

instance, one or more of United States Patent Nos. 7,900,194 and 7,594,272 and the prior art

references listed on the face of the patents.

       113.    Under the Federal Declaratory Judgment Act, 28, U.S.C. § 2202 et seq.,

CrowdStrike requests a judicial determination and declaration that the claims of the ’389 Patent

are invalid.

                                     ELEVENTH COUNT
                     (Declaration of Invalidity of U.S. Patent No. 9,578,045)

       114.    CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.

       115.    Due to Counterclaim-Defendants’ filing of the Complaint, an actual controversy

exists between CrowdStrike and Counterclaim-Defendants as to the validity of the ’045 Patent.

       116.    The claims of the ’045 Patent are invalid, in whole or in part, for failure to meet

one or more requirements of Title 35 of the United States Code, including but not limited to §§

101, 102, 103 and/or 112.

       117.    By way of example, the asserted claims of the ’045 Patent are invalid based on, for

instance, one or more of United States Patent No. 9,292,881, prior art systems such as McAfee

Total Protection for Endpoint—Enterprise Edition and the prior art references listed on the face of

the patents.



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        118.    Under the Federal Declaratory Judgment Act, 28, U.S.C. § 2202 et seq.,

CrowdStrike requests a judicial determination and declaration that the claims of the ’045 Patent

are invalid.

                                       TWELFTH COUNT
                     (Declaration of Invalidity of U.S. Patent No. 10,257,224)

        119.    CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.

        120.    Due to Counterclaim-Defendants’ filing of the Complaint, an actual controversy

exists between CrowdStrike and Counterclaim-Defendants as to the validity of the ’224 Patent.

        121.    The claims of the ’224 Patent are invalid, in whole or in part, for failure to meet

one or more requirements of Title 35 of the United States Code, including but not limited to §§

101, 102, 103 and/or 112.

        122.    By way of example, the asserted claims of the ’224 Patent are invalid based on, for

instance, one or more of United States Patent No. 9,292,881 and U.S. Pat. Pub. No. 2010/0077481,

prior art systems such as McAfee Total Protection for Endpoint—Enterprise Edition and the prior

art references listed on the face of the patents.

        123.    Under the Federal Declaratory Judgment Act, 28, U.S.C. § 2202 et seq.,

CrowdStrike requests a judicial determination and declaration that the claims of the ’224 Patent

are invalid.

                                    THIRTEENTH COUNT
                     (Declaration of Invalidity of U.S. Patent No. 10,284,591)

        124.    CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.




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        125.    Due to Counterclaim-Defendants’ filing of the Complaint, an actual controversy

exists between CrowdStrike and Counterclaim-Defendants as to the validity of the ’591 Patent.

        126.    The claims of the ’591 Patent are invalid, in whole or in part, for failure to meet

one or more requirements of Title 35 of the United States Code, including but not limited to §§

101, 102, 103 and/or 112.

        127.    By way of example, the asserted claims of the ’591 Patent are invalid based on, for

instance, one or more of United States Patent No. 7,971,255 and the prior art references listed on

the face of the patents.

        128.    Under the Federal Declaratory Judgment Act, 28, U.S.C. § 2202 et seq.,

CrowdStrike requests a judicial determination and declaration that the claims of the ’591 Patent

are invalid.

                                    FOURTEENTH COUNT
                     (Declaration of Invalidity of U.S. Patent No. 10,859,844)

        129.    CrowdStrike realleges and incorporates by reference the allegations set forth in the

foregoing paragraphs.

        130.    Due to Counterclaim-Defendants’ filing of the Complaint, an actual controversy

exists between CrowdStrike and Counterclaim-Defendants as to the validity of the ’844 Patent.

        131.    The claims of the ’844 Patent are invalid, in whole or in part, for failure to meet

one or more requirements of Title 35 of the United States Code, including but not limited to §§

101, 102, 103 and/or 112.

        132.    By way of example, the asserted claims of the ’844 Patent are invalid based on, for

instance, one or more of United States Patent Pub. No. 2003/0065926 and the prior art references

listed on the face of the patents.




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         133.   Under the Federal Declaratory Judgment Act, 28, U.S.C. § 2202 et seq.,

CrowdStrike requests a judicial determination and declaration that the claims of the ’844 Patent

are invalid.

                                     PRAYER FOR RELIEF

         For these reasons, CrowdStrike respectfully prays for the following relief:

         1.     that the Court dismiss Counterclaim-Defendants’ claims in their Complaint against

CrowdStrike with prejudice, and enter judgment on the Complaint in favor of CrowdStrike and

against Counterclaim-Defendants;

         2.     that the Court deny all relief requested by Counterclaim-Defendants in their

Complaint;

         3.     that the Court enter a judgment in favor of CrowdStrike and against Counterclaim-

Defendants on CrowdStrike’s Counterclaims;

         4.     that the Court find that Counterclaim-Defendants have willfully infringed

CrowdStrike’s patents, award CrowdStrike an amount of damages to be determined through trial

by jury, together with pre-judgment and post-judgment interest;

         5.     that this Court grant CrowdStrike ongoing royalties for all continued post-trial

infringement by Counterclaim-Defendants;

         6.     that the Court grant CrowdStrike all reasonable attorneys’ fees, experts’ fees, and

costs;

         7.     that this Court enjoin Counterclaim-Defendants from infringing any of the Asserted

Counterclaim Patents;

         8.     that the Court, if it declines to enjoin Counterclaim-Defendants from infringing any

of the Asserted Counterclaim Patents, award damages for future infringement in lieu of an

injunction; and


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          9.     that the Court grant CrowdStrike such further relief as the Court deems proper and

just.

                                  DEMAND FOR JURY TRIAL

          Defendants and Counterclaim Plaintiff hereby demand trial by jury on all issues so triable

that have been raised by Counterclaim-Defendants’ Complaint or by CrowdStrike’s Answer,

Affirmative Defenses, and Counterclaims.




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Dated: May 13, 2022             Respectfully submitted,



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                                Attorneys for CrowdStrike




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system and via e-mail on the date this document is filed.




                                           Steven Callahan




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